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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                TRB Arlington, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Twisted Root Burger
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  310 E. Abram, Ste. 100                                          5601 Sears Street, Ste. B
                                  Arlington, TX 76010                                             Dallas, TX 75206
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Tarrant                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.twistedrootburgerco.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    TRB Arlington, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     TRB Carrollton Square, LLC                                      Relationship            Affiliate
                                                  District   N. District of Texas          When       6/08/20                Case number, if known   20-31615-11

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Debtor   TRB Arlington, LLC                                                     Case number (if known)
         Name




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Debtor   TRB Arlington, LLC                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    TRB Arlington, LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 8, 2020
                                                  MM / DD / YYYY


                             X   /s/ Jason Boso                                                           Jason Boso
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President and Manager




18. Signature of attorney    X   /s/ John P. Henry                                                         Date June 8, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John P. Henry 24055655
                                 Printed name

                                 Henry & Regel, LLC
                                 Firm name

                                 2100 Ross Ave.
                                 Suite 800
                                 Dallas, TX 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     972.299.8445                  Email address      John@henryregel.com

                                 24055655 TX
                                 Bar number and State




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                 Balance Sheet
                         As of 3/31/2020


 TRB Arlington

                                                               Period 3

ASSETS
  Current Asset
   Operating Account                                             104,346
   Account Receivable from Umar Yazdani                            8,000
   Vendor Credit Receivable                                        1,452
   Food Inventory                                                  2,720
   Alcohol Inventory                                               4,656
   Prepaid Expenses                                                9,325
  Total Current Asset                                            130,499

  Fixed Asset
   Restaurant Equipment                                           215,225
   Furniture & Fixtures                                            21,872
   Computer Equipment                                              49,166
   Leasehold Improvements                                         364,092
   Kitchen Equipment                                                6,153
   Accumulated Depreciation                                      -563,603
  Total Fixed Asset                                                92,903

Total ASSETS                                                     223,402

LIABILITIES & EQUITY
 Liabilities
   Current Liability
    Accounts Payable                                              42,605
    PPP Loan Payable                                             115,945
    Sales Tax Payable                                             12,724

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    Gift Certificates Outstanding                                 4,928
  Total Current Liability                                       176,202
  Long Term Liability
    Loan - Restaurant Equipment Capital Leases                    2,841
  Total Long Term Liability                                       2,841
 Total Liabilities                                              179,043
 Equity
  Equity
    Partners Equity                                              525,000
    Retained Earnings                                          1,595,610
    Partner Distributions                                     -2,073,750
    YTD Income                                                    -2,500
  Total Equity                                                    44,360
Total LIABILITIES & EQUITY                                       223,402




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                                                        Profit & Loss - YTD Periods Side by Side vs Budget
                                                                                              YTD Period Ending 03/29/2020

Location: Arlington


                                                     Period 1             Period 2                 Period 3            YTD Actual           YTD Budget           Variance B/-W

Sales

  Non-alcoholic Beverage Sales

    Non-alcoholic Beverage Sales: Counter             7,895     7.99%      8,297     8.26%          7,156     8.24%     23,347      8.16%    25,956      8.80%     -2,609     -10.05%

    Non-alcoholic Beverage Sales: Online                29      0.03%        36      0.04%            43      0.05%       108       0.04%       48       0.02%         59 122.11%

  Total Non-alcoholic Beverage Sales                  7,923     8.02%      8,333     8.30%          7,198     8.29%     23,455      8.20%    26,004      8.81%     -2,549       -9.8%

  Food Sales

    Food Sales: Counter                              81,520     82.51%    83,000     82.64%        72,243     83.21%   236,763   82.77%     244,030   82.70%       -7,267      -2.98%

    Food Sales: Online                                2,121     2.15%      2,085     2.08%          1,734     2.00%      5,940      2.08%     3,538      1.20%      2,402     67.89%

  Total Food Sales                                   83,641     84.65%    85,085     84.72%        73,978     85.21%   242,703   84.85%     247,568   83.90%       -4,865      -1.97%

  Liquor Sales

    Liquor Sales: Counter                             2,903     2.94%      2,661     2.65%          2,361     2.72%      7,925      2.77%     6,898      2.34%      1,027     14.89%

  Total Liquor Sales                                  2,903     2.94%      2,661     2.65%          2,361     2.72%      7,925      2.77%     6,898      2.34%      1,027     14.89%

  Beer Sales

    Beer Sales: Counter                               4,403     4.46%      4,251     4.23%          3,886     4.48%     12,540      4.38%    14,645      4.96%     -2,105     -14.38%

  Total Beer Sales                                    4,403     4.46%      4,251     4.23%          3,886     4.48%     12,540      4.38%    14,645      4.96%     -2,105     -14.38%

  Wine Sales

    Wine Sales: Counter                                214      0.22%       248      0.25%            89      0.10%       551       0.19%      209       0.07%        342 163.02%

  Total Wine Sales                                     214      0.22%       248      0.25%            89      0.10%       551       0.19%      209       0.07%        342 163.02%

  Retail Sales                                         150      0.15%       252      0.25%                                402       0.14%                             402        0.0%

  Rental Revenue                                                                                                                               226       0.08%       -226     -100.0%

  Food Comps                                           -427     -0.43%      -396     -0.40%          -696     -0.80%    -1,519   -0.53%        -471   -0.16%       -1,049 222.76%

Total Sales                                          98,806 100.00%      100,434 100.00%           86,816 100.00%      286,056 100.00%      295,080 100.00%        -9,024      -3.06%

Prime Costs

  Cost of Goods Sold

    Food/Bev Cost of Sales

        Food - Cost of Sales

          Food: Meat                                 11,586     13.85%    11,624     13.66%        11,599     15.68%    34,809   14.34%      34,412   13.90%         -397      -1.15%

          Food: Bread                                 1,849     2.21%      1,981     2.33%          2,157     2.92%      5,987      2.47%     5,744      2.32%       -243      -4.23%

          Food: Dairy                                 2,686     3.21%      2,680     3.15%          3,078     4.16%      8,444      3.48%     8,170      3.30%       -274      -3.35%

          Food: Produce                               3,664     4.38%      3,954     4.65%          4,180     5.65%     11,797      4.86%    11,528      4.66%       -270      -2.34%

          Food: Dry Goods                             3,516     4.20%      3,856     4.53%          4,168     5.63%     11,540      4.76%     9,854      3.98%     -1,686     -17.11%

          Food: Oil                                   1,043     1.25%       818      0.96%           876      1.18%      2,737      1.13%     2,723      1.10%        -14      -0.52%



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        Food: Other
                                            Case 20-31616-sgj11
                                                       14 0.02%
                                                                Doc 112Filed   06/08/20 14 Entered
                                                                           0.01%            0.02%
                                                                                                   06/08/20
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                                                                                                                               Page
                                                                                                                                57
                                                                                                                                     9 of 104
                                                                                                                                    0.02%          18      31.53%

    Total Food - Cost of Sales                        24,357   29.12%   24,924   29.29%   26,072   35.24%   75,353   31.05%   72,487   29.28%   -2,866      -3.95%

    Beverages - Cost of Sales

        Non-alcoholic Beverage - Cost of Sales         1,172   14.79%    1,505   18.07%     782    10.86%    3,459   14.75%    4,031   15.50%     571      14.17%

        Liquor - Cost of Sales                          503    17.32%     409    15.37%     433    18.36%    1,345   16.97%    1,187   17.21%    -158      -13.29%

        Beer - Cost of Sales

            Beer - Cost of Sales                       1,468   33.35%    1,398   32.90%    1,439   37.04%    4,306   34.34%    4,540   31.00%     234       5.15%

        Total Beer - Cost of Sales                     1,468   33.35%    1,398   32.90%    1,439   37.04%    4,306   34.34%    4,540   31.00%     234       5.15%

        Wine - Cost of Sales                             91    42.59%     114    46.14%      30    34.03%     236    42.80%      73    35.00%    -163 -221.67%

        Miscellaneous Bar - Cost of Sales               139    0.14%      276    0.27%      195    0.23%      609    0.21%      453    0.15%     -156       -34.4%

    Total Beverages - Cost of Sales                    3,373   3.41%     3,703   3.69%     2,880   3.32%     9,956   3.48%    10,285   3.49%      329        3.2%

  Total Food/Bev Cost of Sales                        27,730   28.07%   28,627   28.50%   28,952   33.35%   85,309   29.82%   82,772   28.05%   -2,537      -3.06%

  Paper Supplies                                       1,720   1.74%     1,553   1.55%     1,886   2.17%     5,160   1.80%     5,311   1.80%      151       2.85%

Total Cost of Goods Sold                              29,450   29.81%   30,181   30.05%   30,838   35.52%   90,469   31.63%   88,084   29.85%   -2,385      -2.71%

Labor

  Direct Labor

    Hourly Labor

        Hourly Labor- BOH

            Grill Labor                                3,441   3.48%     3,571   3.56%     3,399   3.92%    10,411   3.64%    11,485   3.89%    1,075       9.36%

            Fry Labor                                  2,890   2.93%     2,696   2.68%     2,731   3.15%     8,317   2.91%     9,100   3.08%      783       8.61%

            Prep Labor                                                    117    0.12%       59    0.07%      175    0.06%                       -175        0.0%

            Cook Labor                                                                                                            7    0.00%        7      100.0%

        Total Hourly Labor- BOH                        6,331   6.41%     6,384   6.36%     6,188   7.13%    18,903   6.61%    20,593   6.98%    1,690       8.21%

        Hourly Labor- FOH

            Cashier Labor                              2,672   2.70%     2,661   2.65%     2,285   2.63%     7,618   2.66%     8,792   2.98%    1,175      13.36%

            Garnish Labor                              1,253   1.27%      950    0.95%      714    0.82%     2,918   1.02%     5,862   1.99%    2,944      50.23%

            Expo Labor                                 3,263   3.30%     3,259   3.25%     2,918   3.36%     9,440   3.30%     9,379   3.18%      -61       -0.66%

            Key Manager Labor                          2,728   2.76%     2,516   2.51%     1,749   2.01%     6,992   2.44%     5,275   1.79%    -1,717     -32.55%

            Bar Labor                                   169    0.17%      305    0.30%      231    0.27%      705    0.25%      586    0.20%     -119      -20.33%

            Busser Labor                               3,051   3.09%     2,515   2.50%     2,613   3.01%     8,178   2.86%     6,777   2.30%    -1,401     -20.68%

            Runner Labor                                 48    0.05%      103    0.10%                        151    0.05%     1,465   0.50%    1,315      89.73%

            Training Labor                              611    0.62%      152    0.15%      779    0.90%     1,541   0.54%     2,066   0.70%      524      25.37%

            Meetings/Other Labor                                           12    0.01%       15    0.02%       27    0.01%                        -27        0.0%

        Total Hourly Labor- FOH                       13,793   13.96%   12,474   12.42%   11,303   13.02%   37,570   13.13%   40,202   13.62%   2,632       6.55%

        Overtime Labor- FOH

            OT Key Manager Labor                         12    0.01%                                           12    0.00%                        -12        0.0%

        Total Overtime Labor- FOH                        12    0.01%                                           12    0.00%                        -12        0.0%




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      Total Hourly Labor
                                        Case 20-31616-sgj11
                                                 20,136 20.38%
                                                               Doc18,858
                                                                   1 Filed   06/08/20
                                                                         18.78%
                                                                                          Entered 06/08/20
                                                                                    17,492 20.15%
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                                                                                                      56,485 19.75%
                                                                                                                             Page 20.60%
                                                                                                                             60,795
                                                                                                                                   10 of 104   4,310       7.09%

      Management Labor                              7,885   7.98%     7,885   7.85%     7,885   9.08%     23,654   8.27%     23,654   8.02%        -0       0.0%

      Incentive Compensation                         833    0.84%      833    0.83%                        1,667   0.58%      2,500   0.85%      833      33.33%

    Total Direct Labor                             28,854   29.20%   27,575   27.46%   25,376   29.23%    81,806   28.60%    86,948   29.47%   5,143       5.91%

    Payroll Taxes                                   2,936   2.97%     2,822   2.81%     2,523   2.91%      8,282   2.90%      9,175   3.11%      893       9.74%

    Employee Meals                                  1,002   1.01%      859    0.86%      698    0.80%      2,559   0.90%      1,844   0.63%     -715      -38.76%

    Group Insurance                                  140    0.14%      140    0.14%      799    0.92%      1,079   0.38%      1,836   0.62%      757      41.22%

    Employee Benefits                                 82    0.08%      163    0.16%      163    0.19%       409    0.14%       508    0.17%       99      19.51%

  Total Labor                                      33,014   33.41%   31,560   31.42%   29,560   34.05%    94,135   32.91%   100,312   34.00%   6,177       6.16%

Total Prime Costs                                  62,464   63.22%   61,741   61.48%   60,398   69.57%   184,604   64.53%   188,396   63.85%   3,792       2.01%

Gross Profit                                       36,342   36.78%   38,692   38.53%   26,418   30.43%   101,453   35.47%   106,684   36.15%   -5,232       -4.9%

Operating Expense

  Restaurant Expenses

    Bar Supplies                                                                                                               107    0.04%      107      100.0%

    Dinnerware                                        57    0.06%      125    0.12%                         182    0.06%       336    0.11%      155      45.99%

    Glassware                                         80    0.08%                                            80    0.03%        36    0.01%      -44 -121.25%

    Linen                                            196    0.20%      133    0.13%                         329    0.12%      1,105   0.37%      776      70.21%

    Menu Cost                                         45    0.05%     2,653   2.64%                        2,699   0.94%       285    0.10%    -2,413     -845.8%

    Kitchen Supplies                                1,070   1.08%     1,801   1.79%      716    0.83%      3,587   1.25%      2,462   0.83%    -1,125     -45.69%

    Dishwashing Supplies                            1,159   1.17%     1,402   1.40%     1,579   1.82%      4,140   1.45%      2,951   1.00%    -1,189      -40.3%

    Kitchen Smallwares                                51    0.05%      187    0.19%        8    0.01%       246    0.09%       264    0.09%       18       6.79%

    Kitchen Uniforms                                  -19   -0.02%      11    0.01%      131    0.15%       123    0.04%       325    0.11%      202      62.07%

    Janitorial                                        62    0.06%      112    0.11%                         173    0.06%       366    0.12%      193      52.68%

  Total Restaurant Expenses                         2,701   2.73%     6,424   6.40%     2,433   2.80%     11,558   4.04%      8,237   2.79%    -3,321     -40.32%

  Other Expenses

    Alcohol Taxes                                    504    0.51%      418    0.42%      135    0.16%      1,057   0.37%      1,429   0.48%      372      26.01%

    Training Expense                                  66    0.07%                                            66    0.02%        37    0.01%      -29      -76.58%

    Recruiting                                        30    0.03%                                            30    0.01%       132    0.05%      103      77.51%

    Entertainment & Music                             41    0.04%       41    0.04%       51    0.06%       132    0.05%       189    0.06%       56      29.88%

    Misc. Advertising                                271    0.27%      269    0.27%      266    0.31%       805    0.28%       693    0.24%     -112      -16.14%

    Travel                                                                                                                       2    0.00%        2      100.0%

    Company Activities                                                                                                          60    0.02%       60      100.0%

    Pest Control                                     157    0.16%      157    0.16%                         314    0.11%       471    0.16%      157      33.33%

  Total Other Expenses                              1,068   1.08%      885    0.88%      452    0.52%      2,404   0.84%      3,014   1.02%      609      20.22%

  Banking Expenses

    Cash Over/Short                                    -9   -0.01%      -24   -0.02%      -14   -0.02%       -47   -0.02%                         47        0.0%

    Credit Card Charge Backs                                            39    0.04%       22    0.03%        61    0.02%        29    0.01%      -32 -112.76%

    Credit Card Fees                                2,051   2.08%     2,106   2.10%      507    0.59%      4,664   1.63%      6,197   2.10%    1,532      24.73%



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    Bank Fees
                                         Case 20-31616-sgj11
                                                    19  0.02%
                                                              Doc 1 16
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                                                                            06/08/20      11
                                                                                                Entered
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                                                                                                                                54
                                                                                                                                    11
                                                                                                                                    0.02%
                                                                                                                                         of 104       9       15.9%

    Credit Card Tip Reimbursements                                                       -106    -0.12%        -106   -0.04%     -210   -0.07%     -104       49.4%

  Total Banking Expenses                            2,061   2.09%     2,136   2.13%      420      0.48%       4,617   1.61%     6,069   2.06%     1,452      23.92%

  Office Expenses

    Office Supplies                                   64    0.07%       39    0.04%                            103    0.04%      208    0.07%       104      50.25%

    Dues & Subscriptions                             572    0.58%      572    0.57%      572      0.66%       1,717   0.60%     1,713   0.58%         -4      -0.26%

  Total Office Expenses                              637    0.65%      611    0.61%      572      0.66%       1,821   0.64%     1,921   0.65%       100       5.21%

  Repairs & Maintenance

    Decor                                                               44    0.04%                             44    0.02%       58    0.02%        14      24.12%

    Repairs-General                                 1,428   1.45%      567    0.57%     1,076     1.24%       3,071   1.07%     2,634   0.89%      -437      -16.58%

    Repairs-HVAC                                      70    0.07%                                               70    0.03%      228    0.08%       158      69.17%

    Repairs-Equipment                               2,470   2.50%     1,550   1.54%                           4,020   1.41%     1,792   0.61%     -2,228 -124.28%

    Repairs-Plumbing                                 320    0.32%                                              320    0.11%      150    0.05%      -170 -112.91%

  Total Repairs & Maintenance                       4,289   4.34%     2,160   2.15%     1,076     1.24%       7,525   2.63%     4,863   1.65%     -2,662     -54.75%

  Service Contracts

    Secret Shoppers- Closer Look                     152    0.15%      133    0.13%       60      0.07%        345    0.12%      514    0.17%       169       32.8%

    Equipment Leases                                 463    0.47%      475    0.47%      441      0.51%       1,379   0.48%     1,335   0.45%       -44       -3.26%

    Security                                          42    0.04%       42    0.04%       42      0.05%        126    0.04%      126    0.04%         -0      -0.26%

  Total Service Contracts                            657    0.67%      650    0.65%      543      0.63%       1,850   0.65%     1,975   0.67%       125       6.31%

  Utilities

    Trash / Recycle                                  109    0.11%      844    0.84%     1,729     1.99%       2,682   0.94%     3,188   1.08%       506      15.87%

    Electricity                                      965    0.98%      923    0.92%      929      1.07%       2,817   0.99%     2,837   0.96%        20       0.71%

    Gas                                              512    0.52%       -35   -0.04%     373      0.43%        850    0.30%      984    0.33%       133      13.55%

    Water                                            716    0.73%      487    0.49%      -392    -0.45%        811    0.28%     1,124   0.38%       313      27.83%

    Telephone & Web Services                         477    0.48%      373    0.37%      373      0.43%       1,222   0.43%     1,323   0.45%       101       7.62%

  Total Utilities                                   2,779   2.81%     2,592   2.58%     3,011     3.47%       8,383   2.93%     9,456   3.20%     1,073      11.35%

Total Operating Expense                            14,191   14.36%   15,459   15.39%    8,509     9.80%      38,159   13.34%   35,535   12.04%    -2,625      -7.39%

Gross Controllable Profit                          22,151   22.42%   23,233   23.13%   17,909    20.63%      63,294   22.13%   71,150   24.11%    -7,856     -11.04%

Non Controllable Expense

  Professional Services

    Accounting                                       541    0.55%      541    0.54%      191      0.22%       1,274   0.45%     1,849   0.63%       576      31.12%

    Payroll Services                                 291    0.29%     1,029   1.03%      540      0.62%       1,860   0.65%      883    0.30%      -977 -110.59%

    Consulting Fees                                  554    0.56%      554    0.55%      136      0.16%       1,243   0.44%     1,063   0.36%      -180      -16.94%

    Legal & Professional Fees                                                                                                     31    0.01%        31      100.0%

  Total Professional Services                       1,385   1.40%     2,124   2.12%      868      1.00%       4,377   1.53%     3,827   1.30%      -550      -14.37%

  Other Non Controllable

    Taxes & Licenses                                 772    0.78%      814    0.81%      252      0.29%       1,838   0.64%     1,255   0.43%      -583      -46.47%

  Total Other Non Controllable                       772    0.78%      814    0.81%      252      0.29%       1,838   0.64%     1,255   0.43%      -583      -46.47%



              Powered by Restaurant365                                                                                                                     5/11/2020 2:32:56 PM
  Insurance Expense
                                        Case 20-31616-sgj11 Doc 1 Filed 06/08/20              Entered 06/08/20 21:07:42     Page 12 of 104
    Property & General Insurance                   690    0.70%     1,272   1.27%     1,272     1.47%      3,233   1.13%     3,351   1.14%       118       3.52%

  Total Insurance Expense                          690    0.70%     1,272   1.27%     1,272     1.47%      3,233   1.13%     3,351   1.14%       118       3.52%

  Occupancy Expenses

    Rent - Base                                   7,684   7.78%     7,684   7.65%     7,684     8.85%     23,053   8.06%    23,053   7.81%         0        0.0%

    Rent - CAM & Taxes                            2,349   2.38%     2,349   2.34%     2,349     2.71%      7,046   2.46%     7,047   2.39%         1       0.01%

  Total Occupancy Expenses                       10,033   10.15%   10,033   9.99%    10,033    11.56%     30,100   10.52%   30,100   10.20%        1        0.0%

Total Non Controllable Expense                   12,880   13.04%   14,243   14.18%   12,425    14.31%     39,549   13.83%   38,534   13.06%    -1,015      -2.63%

Store Level EBITDA                                9,271   9.38%     8,990   8.95%     5,484     6.32%     23,745   8.30%    32,616   11.05%    -8,871      -27.2%

Corporate Overhead & Other

  Management Fees                                 3,963   4.01%     4,023   4.01%     3,395     3.91%     11,382   3.98%    11,823   4.01%       442       3.74%

Total Corporate Overhead & Other                  3,963   4.01%     4,023   4.01%     3,395     3.91%     11,382   3.98%    11,823   4.01%       442       3.74%

EBITDA                                            5,307   5.37%     4,967   4.95%     2,089     2.41%     12,364   4.32%    20,793   7.05%     -8,429     -40.54%

Depreciation & Interest

  Depreciation & Amortization                     3,277   3.32%     3,277   3.26%     8,192     9.44%     14,746   5.16%                      -14,746       0.0%

  Interest Expense                                  47    0.05%       39    0.04%       31      0.04%       117    0.04%      200    0.07%        82       41.2%

Total Depreciation & Interest                     3,324   3.36%     3,316   3.30%     8,224     9.47%     14,864   5.20%      200    0.07%    -14,664 ########

Net Profit                                        1,984   2.01%     1,651   1.64%    -6,135    -7.07%     -2,500   -0.87%   20,593   6.98%    -23,093 -112.14%




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                          2019 TAX RETURN FILING INSTRUCTIONS
                               U.S. RETURN OF PARTNERSHIP INCOME



                                        FOR THE YEAR ENDING

                                        DECEMBER 31, 2019
                                        ~~~~~~~~~~~~~~~~~~

Prepared for
                    TRB ARLINGTON, LLC
                    5601 SEARS STREET SUITE B
                    DALLAS, TX 75206

Prepared by
                    RSM US LLP
                    13155 NOEL ROAD SUITE 2200
                    DALLAS, TX 75240

To be signed and    A MEMBER OF THE LLC
dated by
Amount of tax       NOT APPLICABLE

Mail tax return     THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. TO HAVE
to                  IT TRANSMITTED ELECTRONICALLY TO THE IRS, PLEASE SIGN, DATE,
                    AND RETURN FORM 8879-PE TO OUR OFFICE. WE WILL THEN SUBMIT
                    YOUR ELECTRONIC RETURN.


Forms to be         ENCLOSED ARE COPIES OF SCHEDULE K-1 TO BE DISTRIBUTED TO THE
distributed         MEMBERS.
to partners

Return must be      RETURN FEDERAL FORM 8879-PE TO US BY SEPTEMBER 15, 2020.
mailed on
or before
Special             DO NOT MAIL THE PAPER COPY OF THE RETURN TO THE IRS.
Instructions




910145 04-01-19
                                      Case 20-31616-sgj11 Doc 1 Filed 06/08/20           Entered 06/08/20 21:07:42          Page 15 of 104
                                                                         SUMMARY OF SCHEDULE K-1

 Entity Name:                                               Number           Number           Number          Number            Number            Number            Number
                                                                     2               3                4               5                  6                8                 9
   TRB ARLINGTON, LLC                                        Name:           Name:            Name:           Name:             Name:             Name:             Name:
                                                                         GARDEVIANCE,
 Schedule K-1 Line/Item Description                     GARY ASH         LLC              MARIA GUEMEZ    QUINCY HART       JIM HAZARD        MICHAEL KRUG      ROBERTO MORENO
   1       - ORDINARY BUSINESS INCOME (LOSS)
   3       - OTHER NET RENTAL INCOME (LOSS)
 14(A) - NET EARNINGS(LOSS) FROM SELF-EMPLOYMENT
 14(C) - GROSS NONFARM INCOME
 15(J) - WORK OPPORTUNITY CREDIT
 15(N) - CREDIT FOR EMPLOYER SOC. SEC./MEDICARE
 18(C) - NONDEDUCTIBLE EXPENSES
 19(A) - DISTRIBUTIONS - CASH/MARKETABLE SECUR.                    3,750.        3,750.           3,750.           3,750.            3,750.            3,750.            3,750.


            CAPITAL ACCOUNTS


            BEGINNING OF YEAR                                      5,946.        5,949.           5,949.           5,949.            5,946.            5,946.            5,952.
            CONTRIBUTIONS
            CURRENT YEAR INCREASES (DECREASES)                     1,038.        1,038.           1,038.           1,038.            1,038.            1,038.            1,038.
            WITHDRAWALS & DISTRIBUTIONS                            3,750.        3,750.           3,750.           3,750.            3,750.            3,750.            3,750.
            END OF YEAR                                            3,234.        3,237.           3,237.           3,237.            3,234.            3,234.            3,240.


            LIABILITIES - NONRECOURSE
            LIABILITIES - RECOURSE




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04-01-19
                                      Case 20-31616-sgj11 Doc 1 Filed 06/08/20      Entered 06/08/20 21:07:42        Page 16 of 104
                                                                       SUMMARY OF SCHEDULE K-1

 Entity Name:                                               Number         Number         Number       Number           Number           Number            Number
                                                                 11            12             13            14              15                16                17
   TRB ARLINGTON, LLC                                        Name:         Name:          Name:        Name:            Name:            Name:             Name:
                                                                       THE DOUGLAS S TALUJU                                          E & J
 Schedule K-1 Line/Item Description                     J.J. PLEDGER   RING & KIMBERLYPROPERTIES   PHILLIP WETZEL UMAR YAZDANI       PARTNERSHIP       JASON BOSO
   1       - ORDINARY BUSINESS INCOME (LOSS)                                                                                                                  226,087.
   3       - OTHER NET RENTAL INCOME (LOSS)                                                                                                                     1,010.
 14(A) - NET EARNINGS(LOSS) FROM SELF-EMPLOYMENT                                                                                                              226,087.
 14(C) - GROSS NONFARM INCOME                                                                                                                                 775,218.
 15(J) - WORK OPPORTUNITY CREDIT                                                                                                                                2,362.
 15(N) - CREDIT FOR EMPLOYER SOC. SEC./MEDICARE                                                                                                                 7,664.
 18(C) - NONDEDUCTIBLE EXPENSES                                                                                                                                10,026.
 19(A) - DISTRIBUTIONS - CASH/MARKETABLE SECUR.                  3,750.        3,750.         3,750.        3,750.         30,000.            3,750.          183,750.


            CAPITAL ACCOUNTS


            BEGINNING OF YEAR                                    5,949.        5,948.         5,947.        5,948.         47,584.            5,945.          -85,697.
            CONTRIBUTIONS
            CURRENT YEAR INCREASES (DECREASES)                   1,038.        1,038.         1,038.        1,038.          8,301.            1,038.          232,614.
            WITHDRAWALS & DISTRIBUTIONS                          3,750.        3,750.         3,750.        3,750.         30,000.            3,750.          183,750.
            END OF YEAR                                          3,237.        3,236.         3,235.        3,236.         25,885.            3,233.          -36,833.


            LIABILITIES - NONRECOURSE                                                                                                                          96,857.
            LIABILITIES - RECOURSE                                                                                                                              7,676.




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04-01-19
                                      Case 20-31616-sgj11 Doc 1 Filed 06/08/20     Entered 06/08/20 21:07:42   Page 17 of 104
                                                                      SUMMARY OF SCHEDULE K-1

 Entity Name:                                               Number        Number        Number       Number       Number        Number   Number
                                                                 18
   TRB ARLINGTON, LLC                                        Name:        Name:         Name:        Name:        Name:         Name:    Name:
                                                        CHRISTOPHER
 Schedule K-1 Line/Item Description                     KLINE         K-1 TOTALS
   1       - ORDINARY BUSINESS INCOME (LOSS)                                226,087.
   3       - OTHER NET RENTAL INCOME (LOSS)                                   1,010.
 14(A) - NET EARNINGS(LOSS) FROM SELF-EMPLOYMENT                            226,087.
 14(C) - GROSS NONFARM INCOME                                               775,218.
 15(J) - WORK OPPORTUNITY CREDIT                                              2,362.
 15(N) - CREDIT FOR EMPLOYER SOC. SEC./MEDICARE                               7,664.
 18(C) - NONDEDUCTIBLE EXPENSES                                              10,026.
 19(A) - DISTRIBUTIONS - CASH/MARKETABLE SECUR.                  3,750.     262,500.


            CAPITAL ACCOUNTS


            BEGINNING OF YEAR                                    5,949.      39,210.
            CONTRIBUTIONS                                                          0.
            CURRENT YEAR INCREASES (DECREASES)                   1,038.     254,409.
            WITHDRAWALS & DISTRIBUTIONS                          3,750.     262,500.
            END OF YEAR                                          3,237.      31,119.


            LIABILITIES - NONRECOURSE                                        96,857.
            LIABILITIES - RECOURSE                                            7,676.




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04-01-19
            Case 20-31616-sgj11 Doc 1 Filed 06/08/20                                         Entered 06/08/20 21:07:42                           Page 18 of 104

  Form
         7004
  (Rev. December 2018)
                                              Application for Automatic Extension of Time To File Certain
                                                Business Income Tax, Information, and Other Returns                                                           OMB No. 1545-0233
  Department of the Treasury                              | File a separate application for each return.
  Internal Revenue Service                   | Go to www.irs.gov/Form7004 for instructions and the latest information.
                    Name                                                                                                                              Identifying number


  Print             TRB ARLINGTON, LLC                                                                                                                   XX-XXXXXXX
                    Number, street, and room or suite no. (If P.O. box, see instructions.)
  or
  Type              5601 SEARS STREET SUITE B
                    City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                    DALLAS, TX                  75206
  Note: File request for extension by the due date of the return. See instructions before completing this form.
   Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
  1  Enter the form code for the return listed below that this application is for ••••••••••••••••••••••••••••••• 09
  Application                                                                     Form         Application                                                                  Form
  Is For:                                                                         Code         Is For:                                                                      Code
  Form 706-GS(D)                                                                    01         Form 1120-ND (section 4951 taxes)                                              20
  Form 706-GS(T)                                                                    02         Form 1120-PC                                                                   21
  Form 1041 (bankruptcy estate only)                                                03         Form 1120-POL                                                                  22
  Form 1041 (estate other than a bankruptcy estate)                                 04         Form 1120-REIT                                                                 23
  Form 1041 (trust)                                                                 05         Form 1120-RIC                                                                  24
  Form 1041-N                                                                       06         Form 1120S                                                                     25
  Form 1041-QFT                                                                     07         Form 1120-SF                                                                   26
  Form 1042                                                                         08         Form 3520-A                                                                    27
  Form 1065                                                                         09         Form 8612                                                                      28
  Form 1066                                                                         11         Form 8613                                                                      29
  Form 1120                                                                         12         Form 8725                                                                      30
  Form 1120-C                                                                       34         Form 8804                                                                      31
  Form 1120-F                                                                       15         Form 8831                                                                      32
  Form 1120-FSC                                                                     16         Form 8876                                                                      33
  Form 1120-H                                                                       17         Form 8924                                                                      35
  Form 1120-L                                                                       18         Form 8928                                                                      36
  Form 1120-ND                                                                      19
   Part II       All Filers Must Complete This Part
  2   If the organization is a foreign corporation that does not have an office or place of business in the United States,
      check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |
  3 If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
      check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |
      If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
      covered by this application.
  4 If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here ~~~~~~~~~~~~ |
  5 a The application is for calendar year 2019, or tax year beginning                                         , and ending
    b Short tax year. If this tax year is less than 12 months, check the reason:          Initial return            Final return
             Change in accounting period           Consolidated return to be filed        Other (See instructions - attach explanation.)


  6      Tentative total tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                0.

  7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           7


  8 Balance due. Subtract line 7 from line 6. See instructions •••••••••••••••••••••••••••                                                        8
  LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                     Form 7004 (Rev. 12-2018)




  919741 04-01-19


17490317 132085 38-03373.000                                         2019.03011 TRB ARLINGTON, LLC                                                                38-030Z1
                                                       Case 20-31616-sgj11 Doc 1 Filed 06/08/20                                                   Entered 06/08/20 21:07:42                           Page 19 of 104
                                                                               EXTENSION GRANTED TO 09/15/20
      Form
                                                  1065                                              U.S. Return of Partnership Income                                                                                OMB No. 1545-0123


                                                                                                                                                                                                                        2019
                                                                               For calendar year 2019, or tax year beginning                          ,             , ending                   ,             .
      Department of the Treasury
      Internal Revenue Service                                                              | Go to www.irs.gov/Form1065 for instructions and the latest information.
       A                                         Principal business activity                   Name of partnership                                                                                               D   Employer identification
                                                                                                                                                                                                                     number

      RESTAURANT                                                                            TRB ARLINGTON, LLC                                                                                                    XX-XXXXXXX
                                                                                     Type Number, street, and room or suite no. If a P.O. box, see instructions.
        B                                       Principal product or service          or                                                                                                                         E   Date business started

      FOOD & BEV                                                                     Print 5601 SEARS STREET SUITE B                                                                                              03/14/2011
      SERVICE                                                                                City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                 F   Total assets

        C                                       Business code number
      722300                               DALLAS                                                                   TX 75206                        $       172,402.
      G   Check applicable boxes:   (1)       Initial return (2)          Final return    (3)       Name  change     (4)        Address   change  (5)       Amended return
      H   Check accounting  method: (1)       Cash           (2)     X    Accrual         (3)       Other (specify) |
      I   Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year     |                15
      J Check if Schedules C and M-3 are attached •••••••••••••••••••••••••••••••••••••••••••••• | X
      K Check if partnership: (1)          Aggregated activities for section 465 at-risk purposes    (2)        Grouped activities for section 469 passive activity purposes
       Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
           1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1a                                               1,583,538.
             b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~ 1b
             c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1c                                                           1,583,538.
           2 Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        2             808,320.
   Income




           3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    3             775,218.
           4 Ordinary income (loss) from other partnerships, estates, and trusts (attach statement) ~~~~~~~~~~~                               4
           5 Net farm profit (loss) (attach Schedule F (Form 1040 or 1040-SR)) ~~~~~~~~~~~~~~~~~~~~~                                          5
           6 Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~                                        6
           7 Other income (loss) (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        7
           8 Total income (loss). Combine lines 3 through 7 ••••••••••••••••••••••••••••••                                                    8             775,218.
           9 Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~~~                                        9               93,702.
Deductions (see instructions for limitations)




          10 Guaranteed payments to partners ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10
          11 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 11                                                                             28,434.
          12 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 12
          13 Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13                                                                                    124,040.
          14 Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 14               SEE     STATEMENT              1                                53,771.
          15 Interest (see instructions) ••••••••••••••••••••••••••••••••••••••••• 15                                                                            1,134.
          16 a Depreciation (if required, attach Form 4562) ~~~~~~~~~~~~~~~~~ 16a                                            8,245.
             b Less depreciation reported on Form 1125-A and elsewhere on return ~~~~ 16b                                                    16c                 8,245.
          17 Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 17
          18 Retirement plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 18
          19 Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 19                                                                                    621.
          20 Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 20       SEE     STATEMENT              2                              239,184.
          21 Total deductions. Add the amounts shown in the far right column for lines 9 through 20 •••••••••• 21                                           549,131.
          22 Ordinary business income (loss). Subtract line 21 from line 8             •••••••••••••••••••••••                               22             226,087.
          23 Interest due under the look-back method-completed long-term contracts (attach Form 8697) ~~~~~~~~ 23
   Tax and Payments




          24 Interest due under the look-back method-income forecast method (attach Form 8866) ~~~~~~~~~~~ 24
          25 BBA AAR imputed underpayment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 25
          26 Other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 26
          27 Total balance due. Add lines 23 through 26~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 27
          28 Payment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 28
          29 Amount owed. If line 28 is smaller than line 27, enter amount owed ~~~~~~~~~~~~~~~~~~~~ 29
          30 Overpayment. If line 28 is larger than line 27, enter overpayment ••••••••••••••••••••• 30
                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                             and belief, it is true,correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
      Sign                                                   which preparer has any knowledge.


                                                               =                                                                                                          =
                                                                                                                                                                                                      May the IRS discuss this return with
      Here                                                                                                                                                                                            the preparer shown below?
                                                                    Signature of partner or limited liability company member                                                      Date                See instr.
                                                                                                                                                                                                                        X    Yes          No
                                                             Print/Type preparer's name                              Preparer's signature                                  Date           Check         if       PTIN
                                                            TRACY L BURR                                                                                                                  self-employed           P01260735
      Paid                                                    Firm's name      |
      Preparer                                                 RSM US LLP                                                                                                                Firm's EIN   |   XX-XXXXXXX
      Use Only                                                Firm's address |13155 NOEL ROAD SUITE 2200
                                                               DALLAS, TX 75240                                                                                                          Phone no.    972-764-7100
      LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                          911001 12-30-19                                                       Form   1065 (2019)
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  Form 1065 (2019)     TRB ARLINGTON, LLC                                                                                        XX-XXXXXXX               Page 2
   Schedule B          Other Information
   1       What type of entity is filing this return? Check the applicable box:                                                            Yes No
       a        Domestic general partnership                          b       Domestic limited partnership
       c   X Domestic limited liability company                       d       Domestic limited liability partnership
       e        Foreign partnership                                   f       Other |
   2       At the end of the tax year:
       a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
           exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
           loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
           B-1, Information on Partners Owning 50% or More of the Partnership ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         X
       b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
           the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
           on Partners Owning 50% or More of the Partnership••••••••••••••••••••••••••••••••••••••                                           X
   3       At the end of the tax year, did the partnership:
       a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
           stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
           If "Yes," complete (i) through (iv) below ••••••••••••••••••••••••••••••••••••••••••••                                                   X
                               (i) Name of Corporation                                 (ii) Employer
                                                                                                                      (iii) Country of (iv) Percentage
                                                                                        Identification                                    Owned in
                                                                                       Number (if any)                 Incorporation     Voting Stock




       b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
           or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
           interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below ••••••••                   X
                     (i) Name of Entity                         (ii)  Employer     (iii) Type of Entity             (iv) Country of        (v)   Maximum
                                                            Identification Number                                                       Percentage Owned in
                                                                     (if any)                                        Organization       Profit, Loss, or Capital




   4       Does the partnership satisfy all four of the following conditions?                                                           Yes No
       a   The partnership's total receipts for the tax year were less than $250,000.
       b   The partnership's total assets at the end of the tax year were less than $ 1 million.
       c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
           extensions) for the partnership return.
      d The partnership is not filing and is not required to file Schedule M-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                X
           If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
           or item L on Schedule K-1.
    5      Is this partnership a publicly traded partnership, as defined in section 469(k)(2)? ••••••••••••••••••••••••                      X
    6      During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
           so as to reduce the principal amount of the debt? •••••••••••••••••••••••••••••••••••••••                                         X
    7      Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
           information on any reportable transaction? ••••••••••••••••••••••••••••••••••••••••••                                             X
    8      At any time during calendar year 2019, did the partnership have an interest in or a signature or other authority over
           a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
           See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
           Financial Accounts (FBAR). If "Yes," enter the name of the foreign country |                                                      X
    9      At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
           transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
           Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions ••••••••••••••••••••                      X
   10 a Is the partnership making, or had it previously made (and not revoked), a section 754 election? ~~~~~~~~~~~~~~~~                     X
           See instructions for details regarding a section 754 election.
      b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
           attach a statement showing the computation and allocation of the basis adjustment. See instructions •••••••••••••                 X
  911011 12-30-19                                                                                                                Form 1065 (2019)
                                                                        2
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  Form 1065 (2019)      TRB ARLINGTON, LLC                                                                           XX-XXXXXXX             Page 3
    Schedule B          Other Information (continued)
       c  Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a             Yes   No
          substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
          734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructions ••••         X
  11      Check this box if, during the current or prior tax year, the partnership distributed any property received in a
          like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
          owned by the partnership throughout the tax year) •••••••••••••••••••••••••••••••••• |
  12      At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
          undivided interest in partnership property? ••••••••••••••••••••••••••••••••••••••••••                                              X
  13      If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
          Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
          instructions •••••••••••••••••••••••••••••••••••••••• |
  14      Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
          Information Statement of Section 1446 Withholding Tax, filed for this partnership •••••• |                                          X
  15      Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
          to this return •••••••••••••••••••••••••••••••••••••••• |
  16 a Did you make any payments in 2019 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~~~                  X
      b If "Yes," did you or will you file required Form(s) 1099? ••••••••••••••••••••••••••••••••••••                                  X
  17      Enter the number of Forms 5471, Information Return of U.S. Persons With Respect To Certain Foreign
          Corporations, attached to this return •••••••••••••••••••••••••••• |
  18      Enter the number of partners that are foreign governments under section 892 •••••••• |
  19      During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
          and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?•••••••••••••                     X
  20      Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
          for Form 8938 ••••••••••••••••••••••••••••••••••••••••••••••••••••••••                                                              X
  21      Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1T(b)(14)? ••••••••••••••               X
  22      During the tax year, did the partnership pay or accrue any interest or royalty for which the deduction is not allowed under
          section 267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     X
          If "Yes," enter the total amount of the disallowed deductions ••••••••••••••• | $
  23      Did the partnership have an election under section 163(j) for any real property trade or business or any farming
          business in effect during the tax year? See instructions ••••••••••••••••••••••••••••••••••••                                       X
  24      Does the partnership satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~                        X
      a The partnership owns a pass-through entity with current, or prior year carryover, excess business interest
          expense.
      b The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
          preceding the current tax year are more than $26 million and the partnership has business interest.
      c The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
          If "Yes" to any, complete and attach Form 8990.
  25      Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions ~~~~~~~         X
          If "Yes," the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
          line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |
          If "No," complete Designation of Partnership Representative below.
  Designation of Partnership Representative (see instructions)
  Enter below the information for the partnership representative (PR) for the tax year covered by this return.
  Name of PR |     JASON BOSO

                        =                                                                                 =
                      5339 BONITA AVE                                                    U.S. phone
  U.S. address of PR
                      DALLAS, TX 75206                                                   number of PR         214-793-8132
  If the PR is an entity, name of the designated individual for the PR |



                    =                                                                                 =
                                                                                         U.S. phone
  U.S. address of                                                                        number of
  designated                                                                             designated
  individual                                                                             individual
  26       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund? ~~~~~~~~~~~~~~~~~~~~~~                        X
           If "Yes," enter the amount from Form 8996, line 14 ••••••••••••••••••••                            |   $
  27       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
           interest in the partnership or of receiving a distribution from the partnership ••••••••• |
  28       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
           disclosure requirements of Regulations section 1.707-8? •••••••••••••••••••••••••••••••••••                                      X
                                                                                                                                Form 1065 (2019)
  911021 12-30-19
                                                                            3
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   Form 1065 (2019)                      TRB ARLINGTON, LLC                                                                                     XX-XXXXXXX         Page 4
         Schedule K                      Partners' Distributive Share Items                                                                            Total amount
                             1   Ordinary business income (loss) (page 1, line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1          226,087.
                             2   Net rental real estate income (loss) (attach Form 8825) •••••••••••••••••••••••                                2
                             3a  Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                              3a              1,010.
                               b Expenses from other rental activities (attach statement) ~~~~~~~                  3b
                               c                                                                            SEE STATEMENT 3
                                 Other net rental income (loss). Subtract line 3b from line 3a •••••••••••••••••••••                           3c             1,010.
                                 Guaranteed                         4a                                             4b
                             4   payments:           a Services                                         b Capital
       Income (Loss)




                                 c Total. Add lines 4a and 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4c
                             5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      5
                             6 Dividends and dividend equivalents: a Ordinary dividends ••••••••••••••••••••                                   6a
                                 b Qualified dividends 6b                                   c Dividend equivalents 6c
                             7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         7
                             8 Net short-term capital gain (loss) (attach Schedule D (Form 1065)) ~~~~~~~~~~~~~~~~~~                            8
                             9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065)) ••••••••••••••••••                          9a
                               b Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                               9b
                               c Unrecaptured       section  1250   gain (attach statement)  ~~~~~~~~~             9c
                            10   Net   section   1231   gain (loss) (attach  Form 4797)  ~~~~~~~~~~~~~~~~~~~~~~~~~~~                            10
                            11 Other income (loss) (see instructions) Type |                                                                    11
                            12 Section 179 deduction (attach Form 4562) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           12
       Deductions




                            13 a Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    13a
                               b Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              13b
                               c Section 59(e)(2) expenditures: (1) Type |                                                     (2) Amount |   13c(2)
                               d Other deductions (see instructions) Type |                                                                    13d
                                                                                                                                                           226,087.
   Employ-




                            14 a Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       14a
   ment




                               b Gross farming or fishing income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           14b
   Self-




                               c Gross nonfarm income •••••••••••••••••••••••••••••••••••••••                                                  14c         775,218.
                            15 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    15a
                               b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          15b
       Credits




                               c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~          15c
                               d Other rental real estate credits (see instructions) Type |                                                    15d
                               e Other rental credits (see instructions)                 Type |                                                15e
                               f Other credits (see instructions)                        Type |             SEE STATEMENT 4                    15f           10,026.
                            16 a Name of country or U.S. possession |                                                                  ~~
                               b Gross income from all sources ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             16b
                               c Gross income sourced at partner level ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         16c
                                 Foreign gross income sourced at partnership level
     Foreign Transactions




                               d Reserved for future use |                                   e Foreign branch category ~~~~~~~~~ |             16e
                                 Passive
                               f category |                                   g General category |                           h Other ~ |       16h
                                 Deductions allocated and apportioned at partner level
                               i Interest expense |                                         j Other ~~~~~~~~~~~~~~~~~~~ |                      16j
                                 Deductions allocated and apportioned at partnership level to foreign source income
                               k Reserved for future use |                                   l Foreign branch category ~~~~~~~~~ |             16l
                                 Passive
                               m category |                                   n General category |                           o Other ~ |       16o
                               p Total foreign taxes (check one): |                   Paid           Accrued       ~~~~~~~~~~~~~~              16p
                               q Reduction in taxes available for credit (attach statement) ~~~~~~~~~~~~~~~~~~~~~~                             16q
                               r Other foreign tax information (attach statement) •••••••••••••••••••••••••••
                            17a Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            17a
  Minimum Tax
  (AMT) Items




                               b Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                17b
  Alternative




                               c Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         17c
                               d Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                                  17d
                               e Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~                                   17e
                               f Other AMT items (attach statement) •••••••••••••••••••••••••••••••••                                          17f
                            18 a Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              18a
      Other Information




                               b Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                18b
                               c Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~              SEE STATEMENT 5                    18c          10,026.
                            19 a Distributions of cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   19a         262,500.
                               b Distributions of other property~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           19b
                            20 a Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   20a
                               b Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  20b
                               c Other items and amounts (attach statement) ••••••••••••••••••••••••••••                  STMT 6
   911041 12-30-19                                                                      4                                                               Form 1065 (2019)
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  Form 1065 (2019) TRB ARLINGTON, LLC                                                                                                                      XX-XXXXXXX           Page 5
  Analysis of Net Income (Loss)
  1   Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 16p •••••   1                 227,097.
  2     Analysis by                                           (ii) Individual             (iii) Individual                                      (v) Exempt                 (vi)
                                  (i) Corporate                   (active)                    (passive)             (iv) Partnership           Organization           Nominee/Other
        partner type:
      a General partners
      b Limited partners                                                                    227,097.

      Schedule L             Balance Sheets per Books
                                                                                      Beginning of tax year                                             End of tax year
                            Assets
                                                                                (a)                           (b)                             (c)                         (d)
   1 Cash ~~~~~~~~~~~~~~~~                                                                                   107,129.                                                      48,440.
   2a Trade notes and accounts receivable~
    b Less allowance for bad debts ~~~~
   3 Inventories ~~~~~~~~~~~~~                                                                                11,472.                                                      11,020.
   4 U.S. government obligations ~~~~~
   5 Tax-exempt securities ~~~~~~~~
   6 Other current assets (attach statement)~                  STATEMENT 7                                    22,671.                                                       3,567.
   7a Loans to partners (or persons related to partners) ~                                                     8,000.                                                       8,000.
    b Mortgage and real estate loans ~~~
   8 Other investments (attach statement)~
   9a Buildings and other depreciable assets                               650,594.                                                         656,507.
    b Less accumulated depreciation ~~~                                    627,181.                           23,413.                       563,603.                       92,904.
  10a Depletable assets ~~~~~~~~~~
    b Less accumulated depletion ~~~~~
  11 Land (net of any amortization) ~~~~
  12a Intangible assets (amortizable only)~~                         29,100.
    b Less accumulated amortization ~~~                              15,197.                                  13,903.                          14,747.                    -14,747.
  13 Other assets (attach statement) ~~~                       STATEMENT 8                                    18,274.                                                      23,218.
  14 Total assets ~~~~~~~~~~~~~                                                                              204,862.                                                     172,402.
               Liabilities and Capital
  15 Accounts payable ~~~~~~~~~~                                                                              66,591.                                                      39,921.
  16 Mortgages, notes, bonds payable in less than 1 year
  17 Other current liabilities (attach statement) ~            STATEMENT 9                                    75,108.                                                      88,074.
  18 All nonrecourse loans ~~~~~~~~
  19a Loans from partners (or persons related to partners)
    b Mortgages, notes, bonds payable in 1 year or more
  20 Other liabilities (attach statement) ~~                   STATEMENT 10
                                                                23,953.                                                                                                    13,288.
  21 Partners' capital accounts ~~~~~~                          39,210.                                                                                                    31,119.
  22 Total liabilities and capital ••••••                     204,862.                                                                                                    172,402.
      Schedule M-1 Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                                 Note: The partnership may be required to file Schedule M-3. See instructions.
   1     Net income (loss) per books ~~~~~~~                                                          6 Income recorded on books this year not included
   2     Income included on Schedule K, lines 1, 2, 3c,                                                  on Schedule K, lines 1 through 11 (itemize):
         5, 6a, 7, 8, 9a, 10, and 11, not recorded on books                                            a Tax-exempt interest $
         this year (itemize):
   3 Guaranteed payments (other than health                                                           7 Deductions included on Schedule K, lines 1
     insurance) ~~~~~~~~~~~~~~~~                                                                         through 13d, and 16p, not charged against
   4 Expenses recorded on books this year not included on                                                book income this year (itemize):
        Schedule K, lines 1 through 13d, and 16p (itemize):                                            a Depreciation $


    a Depreciation $                                                                                  8 Add lines 6 and 7 ~~~~~~~~~~~~
    b Travel and entertainment $                                                                      9 Income (loss) (Analysis of Net Income (Loss),
   5 Add lines 1 through 4 •••••••••••                                                                  line 1). Subtract line 8 from line 5 ••••••
      Schedule M-2 Analysis of Partners' Capital Accounts
   1 Balance at beginning of year ~~~~~~~        39,210.                                              6 Distributions: a Cash ~~~~~~~~~                                   262,500.
   2 Capital contributed: a Cash ~~~~~~~                                                                                b Property ~~~~~~~~
                             b Property ~~~~~~                                                        7 Other decreases (itemize):
   3 Net income (loss) per books ~~~~~~~                                          181,772.
   4 Other increases (itemize): STMT 12                                            72,637.            8 Add lines 6 and 7 ~~~~~~~~~~~~                                  262,500.
   5 Add lines 1 through 4 •••••••••••                                            293,619.            9 Balance at end of year. Subtract line 8 from line 5 ••            31,119.
  911042 12-30-19                                                                     5                                                                               Form 1065 (2019)
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  Name: TRB      ARLINGTON, LLC                                                                            I.D. Number   XX-XXXXXXX


  Income (Loss) From Other Rental Activities
  1     Show the kind and location of each rental property.

  A


  B


  C


  D


  Rental Income                                                                           Properties
                                                                   A                  B                C                      D
  2   Gross rents ~~~~~~~~~~~~                     2                   1,010.

  Rental Expenses
  3   Advertising ~~~~~~~~~~~~                     3
  4   Auto and travel ~~~~~~~~~~                   4
  5   Cleaning and maintenance ~~~~~~              5
  6   Commissions ~~~~~~~~~~~                      6
  7   Insurance ~~~~~~~~~~~~~                      7
  8   Legal and other professional fees ~~~        8
  9   Interest ~~~~~~~~~~~~~~                      9
 10   Repairs ~~~~~~~~~~~~~~                      10
 11   Taxes ~~~~~~~~~~~~~~~                       11
 12   Utilities ~~~~~~~~~~~~~~                    12
 13   Wages and salaries ~~~~~~~~~                13
 14   Depreciation ~~~~~~~~~~~~                   14
 15   Other (list) J                              15




 16   Total expenses for each property.
      Add lines 3 through 15 •••••••              16                        0.

 17   Total gross rents. Add gross rents from line 2, columns A through D   ~~~~~~~~~~~~~~~~~~~~~~~~~              17         1,010.

 18   Total expenses. Add total expenses from line 16, columns A through D ~~~~~~~~~~~~~~~~~~~~~~~~                18
 19   Net gain (loss) from Form 4797, Part II, line 17, from disposition of property from other rental
      activities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               19


 20   Net income (loss) from other rental(s)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              20         1,010.




  911111
  04-01-19
                                                                           6
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  Form       1125-A                                            Cost of Goods Sold
  (Rev. November 2018)                           | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                              OMB No. 1545-0123
  Department of the Treasury                    | Go to www.irs.gov/Form1125A for the latest information.
  Internal Revenue Service
  Name                                                                                                                       Employer Identification number

         TRB ARLINGTON, LLC                                                                                                     XX-XXXXXXX
  1    Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        1              11,472.
  2    Purchases ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     2             440,131.
  3    Cost of labor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  3             286,498.
  4    Additional section 263A costs (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               4
  5                                                               SEE STATEMENT 15
       Other costs (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         5                    81,239.
  6   Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           6                   819,340.
  7   Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            7                    11,020.
  8   Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
      appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           8                   808,320.
  9 a Check all methods used for valuing closing inventory:
      (i)    X Cost
      (ii)       Lower of cost or market
      (iii)      Other (Specify method used and attach explanation) |


      b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                            |
      c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
      d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
        under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
      e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~ X Yes               No
      f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~          Yes        X      No
        If "Yes," attach explanation.


  For Paperwork Reduction Act Notice, see separate instructions.                                                             Form 1125-A (Rev. 11-2018)




  924441
  04-01-19       LHA
                                                                        7
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  SCHEDULE B-1                                 Information on Partners Owning 50% or
  (Form 1065)                                         More of the Partnership
  (Rev. August 2019)                                                                                                                          OMB No. 1545-0123
  Department of the Treasury
                                                                        J Attach to Form 1065.
  Internal Revenue Service                              J Go to www.irs.gov/Form1065 for the latest information.
  Name of partnership                                                                                                                   Employer identification number



     TRB ARLINGTON, LLC                                                                        XX-XXXXXXX
    Part I Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2a (Question 3a for
           2009 through 2017))
  Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust,
  tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of the
  partnership (see instructions).
                        (i) Name of Entity                         (ii) Employer                (iii)                   (iv)                  (v) Maximum
                                                                  Identification          Type of Entity      Country of Organization Percentage Owned
                                                                 Number (if any)                                                           in Profit, Loss, or
                                                                                                                                                  Capital




    Part II       Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2b
                  (Question 3b for 2009 through 2017))
  Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or
  capital of the partnership (see instructions).


                     (i) Name of Individual or Estate                    (ii) Identifying   (iii) Country of Citizenship (see instructions)       (iv) Maximum
                                                                        Number (if any)                                                        Percentage Owned
                                                                                                                                                 in Profit, Loss,
                                                                                                                                                     or Capital

  JASON BOSO                                                         XXX-XX-XXXX UNITED STATES                                                          100.00




  LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                        Schedule B-1 (Form 1065) (Rev. 8-2019)




  924551 11-13-19
                                                                            8
17490317 132085 38-03373.000                                    2019.03011 TRB ARLINGTON, LLC                                                     38-030Z1
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  SCHEDULE C
  (Form 1065)                     Additional Information for Schedule M-3 Filers
  (Rev. December 2014)                                                                                                             OMB No. 1545-0123
  Department of the Treasury
                                                      | Attach to Form 1065. See separate instructions.
  Internal Revenue Service        | Information about Schedule C (Form 1065) and its instructions is at www.irs.gov/form1065.
  Name of partnership                                                                                                           Employer identification number



        TRB ARLINGTON, LLC                                                                                                       XX-XXXXXXX

                                                                                                                                                  Yes     No


    1    At any time during the tax year, were there any transfers between the partnership and its partners subject to the
         disclosure requirements of Regulations section 1.707-8? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   X

    2    Does any amount reported on Schedule M-3, Part II, lines 7 or 8, column (d), reflect allocations to this
         partnership from another partnership of income, gain, loss, deduction, or credit that are disproportionate to
         this partnership's share of capital in that partnership or its ratio for sharing other items of that
         partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          X

    3    At any time during the tax year, did the partnership sell, exchange, or transfer any interest in an intangible
         asset to a related person as defined in sections 267(b) and 707(b)(1)? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          X

    4    At any time during the tax year, did the partnership acquire any interest in an intangible asset from a related
         person as defined in sections 267(b) and 707(b)(1)? ~~ ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    X

    5    At any time during the tax year, did the partnership make any change in accounting principle for financial
         accounting purposes? See instructions for a definition of change in accounting principle ~~~~~~~~~~~~~~~~~~~~~~~~~~                               X

    6 At any time during the tax year, did the partnership make any change in a method of accounting for U.S.
      income tax purposes? •••••••••••••••••••••••••••••••••••••••••••••••••••••••                                                             X
  LHA For Paperwork   Reduction   Act Notice, see  the Instructions for Form 1065.                            Schedule C (Form 1065) (Rev. 12-2014)




  911151
  04-01-19
                                                                     9
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  SCHEDULE M-3                                       Net Income (Loss) Reconciliation                                                                      OMB No. 1545-0123

                                                          for Certain Partnerships
                                                                                                                                                             2019
  (Form 1065)

  Department of the Treasury
                                                                        | Attach to Form 1065.
  Internal Revenue Service                       | Go to www.irs.gov/Form1065 for instructions and the latest information.
  Name of partnership                                                                                                                       Employer identification number

         TRB ARLINGTON, LLC                                                                                                                      XX-XXXXXXX
  This Schedule M-3 is being filed because (check all that apply):
    A        The amount of the partnership's total assets at the end of the tax year is equal to $10 million or more.
    B        The amount of the partnership's adjusted total assets for the tax year is equal to $10 million or more. If box B is checked,
             enter the amount of adjusted total assets for the tax year                                   .
    C        The amount of total receipts for the tax year is equal to $35 million or more. If box C is checked, enter the total
             receipts for the tax year                                    .
    D        An entity that is a reportable entity partner with respect to the partnership owns or is deemed to own an interest of 50%
             or more in the partnership's capital, profit, or loss on any day during the tax year of the partnership.
                                                                                                                                        Maximum Percentage Owned or
                               Name of Reportable Entity Partner                                       Identifying Number
                                                                                                                                              Deemed Owned



   E X          Voluntary Filer.
  Part I         Financial Information and Net Income (Loss) Reconciliation
  1a Did the partnership file SEC Form 10-K for its income statement period ending with or within this tax year?
            Yes. Skip lines 1b and 1c and complete lines 2 through 11 with respect to that SEC Form 10-K.
       X No. Go to line 1b. See instructions if multiple non-tax-basis income statements are prepared.
   b Did the partnership prepare a certified audited non-tax-basis income statement for that period?
            Yes. Skip line 1c and complete lines 2 through 11 with respect to that income statement.
       X No. Go to line 1c.
   c Did the partnership prepare a non-tax-basis income statement for that period?
       X Yes. Complete lines 2 through 11 with respect to that income statement.
            No. Skip lines 2 through 3b and enter the partnership's net income (loss) per its books and records on line 4a.
  2 Enter the income statement period: Beginning 01/01/2019                              Ending 12/31/2019
  3a Has the partnership's income statement been restated for the income statement period on line 2?
            Yes. (If "Yes," attach a statement and the amount of each item restated.)
       X No.
   b Has the partnership's income statement been restated for any of the five income statement periods immediately preceding the period on line 2?
            Yes. (If "Yes," attach a statement and the amount of each item restated.)
       X No.
  4a Worldwide consolidated net income (loss) from income statement source identified in Part I, line 1 ~~~~~~~~~~~~                            4a             181,772.
   b Indicate accounting standard used for line 4a (see instructions).
     1 X GAAP                   2         IFRS         3       Section 704(b)
     4         Tax-basis        5         Other (Specify) |
  5a Net income from nonincludible foreign entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              5a (                           )
   b Net loss from nonincludible foreign entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~~                             5b
  6a Net income from nonincludible U.S. entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                6a (                           )
   b Net loss from nonincludible U.S. entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~~~                               6b
  7a Net income (loss) of other foreign disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~                                         7a
   b Net income (loss) of other U.S. disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~                                          7b
  8 Adjustment to eliminations of transactions between includible entities and nonincludible entities (attach stmt.) ~~~~~~~                     8
  9 Adjustment to reconcile income statement period to tax year (attach statement) ~~~~~~~~~~~~~~~~~~~~~                                         9
  10 Other adjustments to reconcile to amount on line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~                                            10
  11 Net income (loss) per income statement of the partnership. Combine lines 4a through 10 ~~~~~~~~~~~~~~~                                     11             181,772.
     Note: Part I, line 11, must equal Part II, line 26, column (a), or Schedule M-1, line 1. See instructions.
  12 Enter the total amount (not just the partnership's share) of the assets and liabilities of all entities included or removed on the following lines.
                                               Total Assets                        Total Liabilities
   a Included on Part I, line 4                     172,402.                              141,283.
   b Removed on Part I, line 5
   c Removed on Part I, line 6
   d Included on Part I, line 7
  For Paperwork Reduction Act Notice, see the instructions for your return.                                                                  Schedule M-3 (Form 1065) 2019
  910991 01-13-20     LHA
                                                                             10
17490317 132085 38-03373.000                                     2019.03011 TRB ARLINGTON, LLC                                                                38-030Z1
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  Schedule M-3 (Form 1065) 2019                                                                                                                               Page 2
  Name of partnership                                                                                                               Employer identification number
                     TRB ARLINGTON, LLC                                                           XX-XXXXXXX
                Reconciliation of Net Income (Loss) per Income Statement of Partnership with Income (Loss) per
  Part II
                Return
                                                                               (a)                    (b)                  (c)                          (d)
                  Income (Loss) Items                                   Income (Loss) per         Temporary            Permanent                Income (Loss) per
                                                                        Income Statement          Difference           Difference                   Tax Return

         Attach statements for lines 1 through 10.
   1     Income (loss) from equity method foreign corporations ~~
         Gross foreign dividends not
   2     previously taxed ~~~~~~~~~~~~~~~~
         Subpart F, QEF, and similar
   3     income inclusions ~~~~~~~~~~~~~~~~
         Gross foreign distributions
   4     previously taxed ~~~~~~~~~~~~~~~~
         Income (loss) from equity
   5     method U.S. corporations ~~~~~~~~~~~~~

   6     U.S. dividends   ~~~~~~~~~~~~~~~~~
   7     Income (loss) from U.S. partnerships ~~~~~~
   8     Income (loss) from foreign partnerships ~~~~~~~~
         Income (loss) from other pass-
   9     through entities ••••••••••••••••
         Items relating to reportable
   10    transactions ~~~~~~~~~~~~~~~~~~
   11    Interest income (see instructions)
   12    Total accrual to cash adjustment ~~~~~~~~
   13    Hedging transactions ~~~~~~~~~~~~~
   14    Mark-to-market income (loss) ~~~~~~~~~
   15    Cost of goods sold (see instructions) ~~~~~~ (                     818,346.
                                                                                   )                                     10,026.            (       808,320.
                                                                                                                                                           )
         Sale versus lease (for sellers
   16    and/or lessors) ~~~~~~~~~~~~~~~~~
   17    Section 481(a) adjustments ~~~~~~~~~~
   18    Unearned/deferred revenue ~~~~~~~~~~
         Income recognition from
   19    long-term contracts ~~~~~~~~~~~~~~~
         Original issue discount and
   20    other imputed interest ~~~~~~~~~~~~~~
   21a   Income statement gain/loss on sale, exchange,
         abandonment, worthlessness, or other disposition of
         assets other than inventory and pass-through entities
     b   Gross capital gains from Schedule D, excluding
         amounts from pass-through entities ~~~~~~~
     c   Gross capital losses from Schedule D, excluding
         amounts from pass-through entities, abandonment
         losses, and worthless stock losses ~~~~~~~
     d   Net gain/loss reported on Form 4797, line 17,
         excluding amounts from pass-through entities,
         abandonment losses, and worthless stock losses ~
     e   Abandonment losses ~~~~~~~~~~~~~
         Worthless stock losses
     f   (attach statement) ~~~~~~~~~~~~~~~~

     g Other gain/loss on disposition of assets other than inventory
       Other income (loss) items with
   22 differences (attach statement) ~~~~~~~~~~~  STMT 16               1,580,654.                     2,884.                                   1,583,538.
   23 Total income (loss) items. Combine lines 1
       through 22 ~~~~~~~~~~~~~~~~~                                         762,308.                   2,884.            10,026.                    775,218.
   24 Total expense/deduction items. (From Part III,
       line 31) (see instructions) ~~~~~~~~~~~                             -43,734.                  32,415.                                       -11,319.
   25 Other items with no differences ~~~~~~~~~                           -536,802.                                                               -536,802.
   26 Reconciliation totals. Combine lines 23 through 25                   181,772.                  35,299.             10,026.                   227,097.

         Note: Line 26, column (a), must equal Part I, line 11, and column (d) must equal Form 1065, Analysis of Net
         Income (Loss), line 1.
                                                                                                                                     Schedule M-3 (Form 1065) 2019




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  Schedule M-3 (Form 1065) 2019                                                                                                                         Page 3
  Name of partnership                                                                                                          Employer identification number
                     TRB ARLINGTON, LLC                                                       XX-XXXXXXX
                Reconciliation of Net Income (Loss) per Income Statement of Partnership With Income (Loss) per
  Part III
                Return - Expense/Deduction Items
                                                                                 (a)                   (b)            (c)                        (d)
              Expense/Deduction Items                                        Expense per           Temporary      Permanent                 Deduction per
                                                                          Income Statement         Difference     Difference                 Tax Return

    1    State and local current income tax expense ~~~
    2    State and local deferred income tax expense ~~~
    3    Foreign current income tax expense (other than
         foreign withholding taxes) ~~~~~~~~~~~
    4    Foreign deferred income tax expense ~~~~~~
    5    Equity-based compensation ~~~~~~~~~~
    6    Meals and entertainment ~~~~~~~~~~~
    7    Fines and penalties ~~~~~~~~~~~~~~
         Judgments, damages, awards,
    8    and similar costs ~~~~~~~~~~~~~~~~
    9    Guaranteed payments ~~~~~~~~~~~~~
   10    Pension and profit-sharing ~~~~~~~~~~~
   11    Other post-retirement benefits ~~~~~~~~~
   12    Deferred compensation ~~~~~~~~~~~~
   13    Charitable contribution of cash and tangible
         property ~~~~~~~~~~~~~~~~~~~
         Charitable contribution of
   14    intangible property ~~~~~~~~~~~~~~~
   15    Organizational expenses as per Regulations
         section 1.709-2(a) ~~~~~~~~~~~~~~
   16    Syndication expenses as per Regulations section 1.709-2(b) ..

   17  Current year acquisition/reorganization investment
       banking fees ~~~~~~~~~~~~~~~~~
   18 Current year acquisition/reorganization legal and
       accounting fees ~~~~~~~~~~~~~~~
   19 Amortization/impairment of goodwill ~~~~~~
   20 Amortization of acquisition, reorganization, and
       start-up costs ~~~~~~~~~~~~~~~~
       Other amortization or
   21 impairment write-offs ~~~~~~~~~~~~~~                                     14,747.             -12,807.                                       1,940.
   22 Reserved ~~~~~~~~~~~~~~~~~~
   23a Depletion - Oil & Gas ~~~~~~~~~~~~~
     b Depletion - Other than Oil & Gas ~~~~~~~~
   24 Intangible drilling & development costs ~~~~~
   25 Depreciation ~~~~~~~~~~~~~~~~~                                           27,853.             -19,608.                                       8,245.
   26 Bad debt expense ~~~~~~~~~~~~~~~
   27 Interest expense (see instructions) ~~~~~~~                                1,134.                                                           1,134.
   28 Purchase versus lease (for purchasers and/or
       lessees) ~~~~~~~~~~~~~~~~~~~
   29 Research and development costs ~~~~~~~~~~
   30 Other expense/deduction items with differences
       (attach statement) ~~~~~~~~~~~~~~
   31 Total expense/deduction items. Combine lines 1
       through 30. Enter here and on Part II, line 24,
       reporting positive amounts as negative and negative
       amounts as positive •••••••••••••                                       43,734.             -32,415.                                     11,319.
                                                                                                                                Schedule M-3 (Form 1065) 2019




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             4562                                                    Depreciation and Amortization
                                                                                                                                                                                       OMB No. 1545-0172

  Form


  Department of the Treasury
                                                                         (Including Information on Listed Property)
                                                                          | Attach to your tax return.
                                                                                                                                                   OTHER                        1
                                                                                                                                                                                         2019
                                                                                                                                                                                         Attachment
  Internal Revenue Service (99)                      | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                           Sequence No. 179
  Name(s) shown on return                                                                                        Business or activity to which this form relates                      Identifying number



  TRB ARLINGTON, LLC                                                                                                                                                                XX-XXXXXXX
   Part I Election To Expense Certain Property Under Section 179                        Note: If you have any listed property, complete Part V before you complete Part I.
   1       Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        1
   2       Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                  2
   3       Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                   3
   4       Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                           4
   5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions ••••••••••             5
   6                                       (a) Description of property                                  (b) Cost (business use only)              (c) Elected cost




   7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                           7
   8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                 8
   9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             9
  10 Carryover of disallowed deduction from line 13 of your 2018 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                          10
  11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                           11


                                                                                                                            9
  12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11 •••••••••••••                                                                  12
  13 Carryover of disallowed deduction to 2020. Add lines 9 and 10, less line 12 ••••            13
  Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
   Part II            Special Depreciation Allowance and Other Depreciation (Don't include listed property.)
  14 Special depreciation allowance for qualified property (other than listed property) placed in service during
     the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                      14                       8,245.
  15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    15
  16 Other depreciation (including ACRS) •••••••••••••••••••••••••••••••••••••                                                                                           16
   Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                          Section A
  17 MACRS deductions for assets placed in service in tax years beginning before 2019 ~~~~~~~~~~~~~~                                         17
  18 If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here ••• J
                                Section B - Assets Placed in Service During 2019 Tax Year Using the General Depreciation System
                                                                     (b) Month and        (c) Basis for depreciation
                    (a) Classification of property                    year placed        (business/investment use           (d) Recovery       (e) Convention      (f) Method       (g) Depreciation deduction
                                                                        in service         only - see instructions)             period


  19a           3-year property
    b           5-year property
    c           7-year property
    d           10-year property
    e           15-year property
    f           20-year property
    g           25-year property                                                                                        S/L   25 yrs.
                                                            /                                                MM         S/L  27.5 yrs.
       h        Residential rental property
                                                            /                                                MM         S/L  27.5 yrs.
                                                            /                                 39 yrs.        MM         S/L
       i        Nonresidential real property
                                                            /                                                MM         S/L
                              Section C - Assets Placed in Service During 2019 Tax Year Using the Alternative Depreciation System
  20a           Class life                                                                                                                                           S/L
    b           12-year                                                                                                       12 yrs.                                S/L
    c           30-year                                                      /                                                30 yrs.               MM               S/L
    d           40-year                                                      /                                                40 yrs.               MM               S/L
   Part        IV Summary (See instructions.)
  21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                       21
  22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
      Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr. •••••••                                                       22                       8,245.
  23 For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs ••••••••••••••••                   23
                                                                                  13
  916251 12-12-19 LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                      Form 4562 (2019)
17490317 132085 38-03373.000                                                     2019.03011 TRB ARLINGTON, LLC                                                                             38-030Z1
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  Form 4562 (2019)                  TRB ARLINGTON, LLC                                                                 XX-XXXXXXX                                            Page 2
   Part V     Listed Property  (Include automobiles, certain  other vehicles, certain aircraft, and property used for
              entertainment, recreation, or amusement.)
              Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
              24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                 Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
  24a Do you have evidence to support the business/investment use claimed?            Yes              No 24b If "Yes," is the evidence written?                    Yes        No
                (a)                 (b)             (c)                (d)                     (e)             (f)          (g)             (h)                            (i)
        Type of property            Date          Business/                          Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                    Elected
                                 placed  in      investment          Cost or
       (list vehicles first)                                      other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                    section 179
                                  service      use percentage                              use only)                                                                    cost
  25 Special depreciation allowance for qualified listed property placed in service during the tax year and
     used more than 50% in a qualified business use•••••••••••••••••••••••••••••                                                 25



                                       !   !
  26 Property used more than 50% in a qualified business use:



                                       !   !
                                                        %



                                       !   !
                                                        %
                                                        %



                                       !   !
  27 Property used 50% or less in a qualified business use:



                                       !   !
                                                       %                                         S/L -



                                       !   !
                                                       %                                         S/L -
                                                       %                                         S/L -
  28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~    28
  29 Add amounts in column (i), line 26. Enter here and on line 7, page 1 •••••••••••••••••••••••••••                                                       29
                                                      Section B - Information on Use of Vehicles
  Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
  to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                       (a)             (b)              (c)              (d)                        (e)                 (f)
  30 Total business/investment miles driven during the               Vehicle         Vehicle          Vehicle          Vehicle                    Vehicle             Vehicle
     year ( don't include commuting miles) ~~~~~~~
  31 Total commuting miles driven during the year ~
  32 Total other personal (noncommuting) miles
     driven~~~~~~~~~~~~~~~~~~~~~
  33 Total miles driven during the year.
     Add lines 30 through 32~~~~~~~~~~~~
  34 Was the vehicle available for personal use         Yes      No    Yes      No      Yes      No     Yes     No    Yes     No                                    Yes        No
     during off-duty hours? ~~~~~~~~~~~~
  35 Was the vehicle used primarily by a more
     than 5% owner or related person? ~~~~~~
  36 Is another vehicle available for personal
     use? •••••••••••••••••••••
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
  Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
  more than 5% owners or related persons.
  37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your    Yes                                               No
     employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
     employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
  39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  40 Do you provide more than five vehicles to your employees, obtain information from your employees about
     the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
     Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
   Part VI Amortization
                         (a)                              (b)                (c)                     (d)              (e)  (f)
                    Description of costs                Date amortization       Amortizable                 Code               Amortization                  Amortization
                                                             begins              amount                    section         period or percentage              for this year




                                                             ! !
  42 Amortization of costs that begins during your 2019 tax year:



                                                             ! !
  43 Amortization of costs that began before your 2019 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                43                         1,940.
  44 Total. Add amounts in column (f). See the instructions for where to report •••••••••••••••••••                                       44                         1,940.
  916252 12-12-19                                                                                                                                                Form 4562 (2019)
                                                                          14
17490317 132085 38-03373.000                                  2019.03011 TRB ARLINGTON, LLC                                                                      38-030Z1
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2019 DEPRECIATION AND AMORTIZATION REPORT

                                                                                                    OTHER      1
                                                                        C                                                      *
  Asset                                       Date                      o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For       Beginning     Current   Current Year     Ending
   No.               Description            Acquired   Method   Life    n   No.     Cost Or Basis     %      Expense         Basis         Depreciation    Accumulated    Sec 179    Deduction     Accumulated
                                                                        v                            Excl                                                  Depreciation   Expense                  Depreciation

     35 LEASEHOLD IMPROVEMENT              05/04/11 150DB 15.00 HY17                 364,092.                              364,092.                                                           0.

     36 ORGANIZATIONAL COSTS               03/01/11             180M        43          6,676.                                                 6,676.         3,486.                       445.        3,931.

     37 START-UP COSTS                     03/01/11             180M        43         22,424.                                                22,424.        11,711.                    1,495.       13,206.

     43 COMPUTER EQUIPMENT                 06/30/14 200DB 5.00 HY17                     1,746.                 1,746.                                                                         0.

     57 RE-RESTAURANT EQUIP                06/15/16 200DB 5.00 HY17                     4,440.                 4,440.                                                                         0.

     65 POINT OF SALE EQUIP                07/05/18 200DB 5.00 HY17                    23,412.                              23,412.                                                           0.

     71 RE - BUYOUT LEASED EQUIPMENT 09/08/19 200DB 5.00 HY19B                          2,807.                               2,807.                                                     2,807.

     72 RE SINGER EQUIPMENT                09/09/19 200DB 5.00 HY19B                    2,922.                               2,922.                                                     2,922.
        BOTTLE COOLER, CASTER SET,
     73 INSTALL                            09/20/19 200DB 5.00 HY19B                    2,516.                               2,516.                                                     2,516.

          * OTHER TOTAL OTHER                                                        431,035.                  6,186. 395,749.                29,100.        15,197.                   10,185.       17,137.

          FURNITURE & FIXTURES

      1 F-MISC FIXTURE                     08/31/11 200DB 5.00 HY17                     1,507.                               1,507.                                                           0.

      2 F- SIGNAGE                         10/11/11 SL          39.00       16          7,423.                               7,423.                                                           0.

      3 F- FURNITURE                       08/10/11 200DB 5.00 HY17                     1,244.                               1,244.                                                           0.

      4 F- SIGNAGE                         08/15/11 200DB 5.00 HY17                     7,000.                               7,000.                                                           0.

      5 F- OUTDOOR FURNITURE               09/06/11 200DB 5.00 HY17                     2,227.                               2,227.                                                           0.

      6 F-MISC FURNITURE                   01/19/12 200DB 5.00 HY17                        602.                    602.                                                                       0.

      7 F-BIG SHOTS                        08/14/13 200DB 5.00 HY17                        270.                    270.                                                                       0.
928111 04-01-19
                                                                                   (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                                           14.1
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2019 DEPRECIATION AND AMORTIZATION REPORT

                                                                                                 OTHER      1
                                                                     C                                                      *
  Asset                                     Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For       Beginning     Current   Current Year     Ending
   No.             Description            Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation    Accumulated    Sec 179    Deduction     Accumulated
                                                                     v                            Excl                                                  Depreciation   Expense                  Depreciation

     51 F- FURNITURE                     06/30/15 200DB 5.00 HY17                    1,600.                 1,600.                                                                         0.
        * OTHER TOTAL FURNITURE &
        FIXTURES                                                                    21,873.                 2,472.       19,401.                  0.             0.                        0.            0.

          MACHINERY & EQUIPMENT

      8 RE- MISC EQUIP                   07/01/11 200DB 5.00 HY17                   15,000.                              15,000.                                                           0.

      9 RE- REFRIGERATION                07/15/11 200DB 5.00 HY17                   50,000.                              50,000.                                                           0.

     10 RE- MISC EQUIP                   08/22/11 200DB 5.00 HY17                    6,038.                               6,038.                                                           0.

     11 RE- REFRIGERATION                09/08/11 200DB 5.00 HY17                   37,133.                              37,133.                                                           0.

     12 RE- SAFE                         09/15/11 200DB 7.00 HY17                       835.                                 835.                                                          0.

     13 RE- LIGHTING                     09/30/11 200DB 5.00 HY17                    1,485.                               1,485.                                                           0.

     14 RE- AUDIO/VISUAL                 10/11/11 200DB 5.00 HY17                    9,892.                               9,892.                                                           0.

     15 RE- REFRIGERATION                10/31/11 200DB 5.00 HY17                   20,000.                              20,000.                                                           0.

     16 RE- COMMERCIAL REF               11/02/11 200DB 5.00 HY17                    4,143.                               4,143.                                                           0.

     17 RE-STAINLESS WORK                01/06/12 200DB 5.00 HY17                   11,502.                11,502.                                                                         0.

     18 RE-REFRIDGERATION                02/06/12 200DB 5.00 HY17                   10,628.                10,628.                                                                         0.

     19 RE-MISC EQUIP                    02/07/12 200DB 5.00 HY17                    9,403.                 9,403.                                                                         0.

     20 RE-MISC EQUIP                    02/09/12 200DB 5.00 HY17                       503.                    503.                                                                       0.

     21 RE-REFRIGERATION                 06/19/12 200DB 5.00 HY17                    1,191.                 1,191.                                                                         0.

     22 RE-MISC EQUIP                    12/20/12 200DB 5.00 HY17                       594.                    594.                                                                       0.
928111 04-01-19
                                                                                (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                                         14.2
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                                                                                                OTHER      1
                                                                    C                                                      *
  Asset                                    Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For       Beginning     Current   Current Year     Ending
   No.            Description            Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation    Accumulated    Sec 179    Deduction     Accumulated
                                                                    v                            Excl                                                  Depreciation   Expense                  Depreciation

     23 RE-RESTAURANT EQUIP             03/08/13 200DB 5.00 HY17                    2,041.                 2,041.                                                                         0.

     24 RE-RESTAURANT EQUIP             07/12/13 200DB 5.00 HY17                       538.                    538.                                                                       0.

     25 RE-BUN TOASTERS                 08/23/13 200DB 5.00 HY17                    1,873.                 1,873.                                                                         0.

     26 RE-70V MIXER AMP                10/01/13 200DB 5.00 HY17                       980.                    980.                                                                       0.

     27 CE- COMPUTERS                   06/07/11 200DB 5.00 HY17                    5,000.                               5,000.                                                           0.

     28 CE- MISC EQUIP                  08/10/11 200DB 5.00 HY17                    3,910.                               3,910.                                                           0.

     29 CE- SATELLITE EQ                08/23/11 200DB 5.00 HY17                    9,000.                               9,000.                                                           0.

     30 CE- MISC EQUIP                  09/07/11 200DB 5.00 HY17                       714.                                 714.                                                          0.

     31 CE-COMPUTER EQUIP               03/01/12 200DB 5.00 HY17                    1,759.                 1,759.                                                                         0.

     32 CE-TERMINAL & READER            06/15/12 200DB 5.00 HY17                    1,759.                 1,759.                                                                         0.

     33 CE-RECEIPT PRINTERS             11/15/12 200DB 5.00 HY17                       936.                    936.                                                                       0.

     34 CE-SERVER INSTALL               10/11/13 200DB 5.00 HY17                       996.                    996.                                                                       0.

     49 RE-RESTAURANT EQUIP             06/30/15 200DB 5.00 HY17                   16,739.                16,739.                                                                         0.

     50 CE-COMPUTER EQUIP               06/30/15 200DB 5.00 HY17                    2,262.                 2,262.                                                                         0.

     58 ISI REFRIGERATION               01/01/17 200DB 5.00 HY17                    2,614.                 2,614.                                                                         0.

     59 RE-OCBW INC-MISC EQUIP          09/14/17 200DB 5.00 HY17                    5,563.                 5,563.                                                                         0.
        * OTHER TOTAL MACHINERY &
        EQUIPMENT                                                                235,031.                 71,881. 163,150.                       0.             0.                        0.            0.
        * GRAND TOTAL OTHER DEPR &
        AMORT                                                                    687,939.                 80,539. 578,300.                29,100.        15,197.                   10,185.       17,137.
928111 04-01-19
                                                                               (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                                        14.3
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2019 DEPRECIATION AND AMORTIZATION REPORT

                                                                                                     OTHER      1
                                                                         C                                                      *
  Asset                                         Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For       Beginning     Current   Current Year     Ending
   No.                 Description            Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation    Accumulated    Sec 179    Deduction     Accumulated
                                                                         v                            Excl                                                  Depreciation   Expense                  Depreciation

          CURRENT YEAR ACTIVITY

            BEGINNING BALANCE                                                         679,694.                 80,539. 570,055.                29,100.        15,197.                                 17,137.

                  ACQUISITIONS                                                           8,245.                       0.      8,245.                  0.             0.                                      0.

                  DISPOSITIONS                                                                 0.                     0.            0.                0.             0.                                      0.

            ENDING BALANCE                                                            687,939.                 80,539. 578,300.                29,100.        15,197.                                 17,137.




928111 04-01-19
                                                                                    (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                                             14.4
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  Form    5884                                         Work Opportunity Credit
                                                                                                                                      OMB No. 1545-0219


  (Rev. December 2016)
  Department of the Treasury                                | Attach to your tax return.                                         Attachment
  Internal Revenue Service      | Information about Form 5884 and its separate instructions is at www.irs.gov/form5884 .         Sequence No. 77
  Name(s) shown on return                                                                                        Identifying number

  TRB ARLINGTON, LLC                                                                                                   XX-XXXXXXX

    1     Enter on the applicable line below the total qualified first- or second-year wages paid or incurred during the
          tax year, and multiply by the percentage shown, for services of employees who are certified as members of a
          targeted group.


        a Qualified first-year wages of employees who worked for you at least
          120 hours but fewer than 400 hours ~~~~~~~~~~~~~~~ $                                   9,446.x 25% (0.25)         1a                 2,362.

        b Qualified first-year wages of employees who worked for you at least
          400 hours ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ $                                                           x 40% (0.40)   1b


        c Qualified second-year wages of employees certified as long-term
          family assistance recipients ~~~~~~~~~~~~~~~~~~~~ $                                                x 50% (0.50)   1c


    2     Add lines 1a, 1b, and 1c. See instructions for the adjustment you must make to salaries and wages ~~~~~            2                 2,362.

    3     Work opportunity credit from partnerships, S corporations, cooperatives, estates, and
          trusts (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              3

    4     Add lines 2 and 3. Cooperatives, estates, and trusts, go to line 5. Partnerships and S corporations,
          stop here and report this amount on Schedule K. All others, stop here and report this amount on
          Form 3800, Part III, line 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4                 2,362.

    5     Amount allocated to patrons of the cooperative or beneficiaries of the estate or trust (see
          instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     5

    6  Cooperatives, estates, and trusts, subtract line 5 from line 4. Report this amount on Form 3800,
       Part III, line 4b •••••••••••••••••••••••••••••••••••••••••••••••                                                     6
  For Paperwork Reduction Act Notice, see separate instructions.                                                                 Form 5884 (Rev. 12-2016)




  919451 04-01-19     LHA
                                                                       15
17490317 132085 38-03373.000                               2019.03011 TRB ARLINGTON, LLC                                                  38-030Z1
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  Form
         8275                                                     Disclosure Statement                                                                  OMB No. 1545-0889

                                              Do not use this form to disclose items or positions that are contrary to Treasury
  (Rev. August 2013)                            regulations. Instead, use Form 8275-R, Regulation Disclosure Statement.
                                                                                                                                                        Attachment
  Department of the Treasury            | Information about Form 8275 and its separate instructions is at www.irs.gov/form8275.
  Internal Revenue Service
                                                                        | Attach to your tax return.                                                    Sequence No.   92
  Name(s) shown on return                                                                                                                Identifying number shown on return

                               TRB ARLINGTON, LLC                                                                                                XX-XXXXXXX
  If Form 8275 relates to an information return for a foreign entity (for example, Form 5471), enter:
  Name of foreign entity |
  Employer identification number, if any |
  Reference ID number (see instructions) |
     Part I           General Information (see instructions)
                  (a)                          (b)                                       (c)                                   (d)               (e)            (f)
                                         Item or Group                                                                       Form or            Line
      Rev. Rul., Rev. Proc., etc.           of Items                         Detailed Description of Items                  Schedule            No.           Amount
  1
  IRS SEC. 263A                     UNICAP                  UNIFORM CAPITALIZATION                                     1125-A               4                               0.
  2


  3


  4


  5


  6


      Part II Detailed Explanation (see instructions)
  1   SEE PART IV


  2



  3



  4



  5



  6



      Part III        Information About Pass-Through Entity. To be completed by partners, shareholders, beneficiaries, or residual interest holders.
  Complete this part only if you are making adequate disclosure for a pass-through item.
  Note: A pass-through entity is a partnership, S corporation, estate, trust, regulated investment company (RIC), real estate investment trust (REIT),
        or real estate mortgage investment conduit (REMIC).
  1 Name, address, and ZIP code of pass-through entity                                        2 Identifying number of pass-through entity


                                                                                              3 Tax year of pass-through entity
                                                                                                                                 to
                                                                                              4 Internal Revenue Service Center where the pass-through entity filed
                                                                                                its return


  LHA            For Paperwork Reduction Act Notice, see separate instructions.                                                                        Form   8275 (Rev. 8-2013)


  913581
  04-01-19
                                                                             16
17490317 132085 38-03373.000                                     2019.03011 TRB ARLINGTON, LLC                                                            38-030Z1
  TRB ARLINGTON,  LLC
      Case 20-31616-sgj11          Doc 1 Filed 06/08/20          Entered 06/08/20 21:07:42   Page 39 XX-XXXXXXX
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  Form 8275 (Rev. 8-2013)                                                                                        Page   2
   Part IV Explanations     (continued from Parts I and/or II)
  THE TAXPAYER IS PRESENTLY USING AN IMPERMISSIBLE METHOD OF ACCOUNTING
  FOR SECTION 263A (UNICAP). SPECIFICALLY, THE TAXPAYER HAS NOT ADOPTED
  THE REGULATIONS PUBLISHED ON NOVEMBER 19, 2018 APPLICABLE FOR TAXABLE
  YEARS BEGINNING ON OR AFTER NOVEMBER 20, 2018 (TD 9843). THE TAXPAYER HAS
  APPLIED ITS PRESENT TREATMENT CONSISTENTLY FOR TWO OR MORE CONSECUTIVE
  TAXABLE YEARS AND HAS THUS ESTABLISHED A METHOD OF ACCOUNTING PURSUANT
  TO SECTION 446 AND REV. RUL. 90-38, WHICH MAY ONLY BE CHANGED WITH IRS
  CONSENT. UNTIL THE TAXPAYER REQUESTS CONSENT TO CHANGE ITS METHOD
  OF ACCOUNTING, THE TAXPAYER MUST CONTINUE TO USE THE IMPERMISSIBLE
  METHOD OF ACCOUNTING. THEREFORE, THERE IS REASONABLE BASIS FOR THE
  CONTINUED USE OF THE PRESENT IMPERMISSIBLE METHOD.




                                                                                               Form   8275 (Rev. 8-2013)
  913582
  04-01-19
                                                             17
17490317 132085 38-03373.000                     2019.03011 TRB ARLINGTON, LLC                           38-030Z1
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            8846                          Credit for Employer Social Security and Medicare Taxes                                      OMB No. 1545-0123
  Form                                                 Paid on Certain Employee Tips
                                                                   | Attach to your tax return.                                         2019
  Department of the Treasury                                                                                                           Attachment
  Internal Revenue Service                          | Go to www.irs.gov/Form8846 for the latest information.                           Sequence No.   98
  Name(s) shown on return                                                                                                       Identifying number

  TRB ARLINGTON, LLC                                                                                                                XX-XXXXXXX
  Note: Claim this credit only for employer social security and Medicare taxes paid by a food or beverage establishment where tipping is customary for
  providing food or beverages. See the instructions for line 1.


    1    Tips received by employees for services on which you paid or incurred employer social security and Medicare taxes
         during the tax year (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          1            100,186.

    2 Tips not subject to the credit provisions (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                2
    3 Creditable tips. Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         3            100,186.

                                                                                                                  9
    4 Multiply line 3 by 7.65% (0.0765). If you had any tipped employees whose wages (including tips) exceeded
      $132,900, see instructions and check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 4                7,664.
   5 Credit for employer social security and Medicare taxes paid on certain employee tips from partnerships
      and S corporations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         5
   6 Add lines 4 and 5. Partnerships and S corporations, report this amount on Schedule K. All others, report this amount on
      Form 3800, Part III, line 4f •••••••••••••••••••••••••••••••••••••••••••                                                  6                7,664.
  LHA For Paperwork Reduction Act Notice, see instructions.                                                                                  Form 8846 (2019)




  920421 12-06-19


                                                                       18
17490317 132085 38-03373.000                               2019.03011 TRB ARLINGTON, LLC                                                    38-030Z1
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  Form    8916-A                              Supplemental Attachment to Schedule M-3
                                                                                                                                    OMB No. 1545-0123
  (Rev. November 2019)
                                              | Attach to Schedule M-3 for Form 1065, 1120, 1120-L, 1120-PC, or 1120-S.
  Department of the Treasury
  Internal Revenue Service                            | Go to www.irs.gov/Form1120 for the latest information.
  Name of common parent                                                                                                   Employer identification number
          TRB ARLINGTON, LLC                                                                                                XX-XXXXXXX
  Name of subsidiary                                                                                                      Employer identification number

      Part I     Cost of Goods Sold
                                                                  (a)                    (b)                     (c)                      (d)
                 Cost of Goods Sold Items                     Expense per            Temporary               Permanent               Deduction per
                                                           Income Statement          Difference              Difference               Tax Return


  1     Amounts attributable to cost flow assumptions


  2     Amounts attributable to:


      a Stock option expense ~~~~~~~~~~


      b Other equity-based compensation ~~~~~


      c Meals and entertainment ~~~~~~~~


      d Parachute payments ~~~~~~~~~~


      e Compensation with section 162(m) limitation


      f Pension and profit sharing ~~~~~~~~


      g Other post-retirement benefits ~~~~~~


      h Deferred compensation ~~~~~~~~~


      i Reserved ~~~~~~~~~~~~~~~


      j Amortization ~~~~~~~~~~~~~~


      k Depletion ~~~~~~~~~~~~~~~


      l Depreciation ~~~~~~~~~~~~~~


      m Corporate-owned life insurance premiums ~


      n Other section 263A costs ~~~~~~~~


  3     Inventory shrinkage accruals ~~~~~~~


  4     Excess inventory and obsolescence reserves


  5     Lower of cost or market write-downs ~~~
               SEE STATEMENT 17
  6     Other items with differences (attach statement)                                                        -10,026.                 -10,026.

  7     Other items with no differences ~~~~~~                 818,346.                                                                 818,346.
  8     Total cost of goods sold. Add lines 1 through
        7 in columns a, b, c, and d. Enter totals on the
        applicable Schedule M-3. See instructions •            818,346.                                        -10,026.                 808,320.
  LHA        For Paperwork Reduction Act Notice, see instructions.                                                         Form 8916-A (Rev. 11-2019)


  913315
  12-11-19
                                                                          19
17490317 132085 38-03373.000                                  2019.03011 TRB ARLINGTON, LLC                                            38-030Z1
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                        TRB ARLINGTON, LLC
  Form 8916-A (Rev. 11-2019)                                                                                XX-XXXXXXX             Page   2
   Part II      Interest Income
                                                             (a)                (b)              (c)                     (d)
                   Interest Income Item               Income (Loss) per     Temporary        Permanent           Income (Loss) per
                                                      Income Statement      Difference       Difference              Tax Return
  1   Tax-exempt interest income


  2   Interest income from hybrid securities


  3   Sale/lease interest income


  4a Intercompany interest income - From outside
     tax affiliated group
  4b Intercompany interest income - From tax
     affiliated group
  5 Other interest income


  6   Total interest income. Add lines 1 through 5

      in columns a, b, c, and d. Enter total on
      the applicable Schedule M-3.

      See instructions.
  Part III      Interest Expense
                                                             (a)                (b)              (c)                    (d)
                  Interest Expense Item                  Expense per        Temporary        Permanent             Deduction per
                                                      Income Statement      Difference       Difference             Tax Return
  1   Interest expense from hybrid securities


  2   Lease/purchase interest expense


  3a Intercompany interest expense - Paid to
     outside tax affiliated group
  3b Intercompany interest expense - Paid to
     tax affiliated group
  4 Other interest expense
                                                               1,134.                                                     1,134.
  5   Total interest expense. Add lines 1 through 4

      in columns a, b, c, and d. Enter total on

      the applicable Schedule M-3.

      See instructions.                                        1,134.                                                     1,134.
                                                                                                           Form 8916-A (Rev. 11-2019)




  913316
  12-11-19
                                                                      20
17490317 132085 38-03373.000                              2019.03011 TRB ARLINGTON, LLC                              38-030Z1
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  Form     8990
  (Rev. December 2019)
                                        Limitation on Business Interest Expense
                                                  Under Section 163(j)                                                              OMB No. 1545-0123

  Department of the Treasury
                                                               | Attach to your tax return.
  Internal Revenue Service         | Go to www.irs.gov/Form8990 for instructions and the latest information.
  Taxpayer name(s) shown on tax return                                                                                Identification number
      TRB ARLINGTON, LLC                                                                                               XX-XXXXXXX
   Part I Computation of Allowable Business Interest Expense
   Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
   taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

  Section I - Business Interest Expense
     1      Current year business interest expense (not including floor plan
            financing interest expense), before the section 163(j) limitation ~~~~~~~ 1 1,134.
     2      Disallowed business interest expense carryforwards from prior
            years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~               2
     3      Partner's excess business interest expense treated as paid or
            accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~      3
     4      Floor plan financing interest expense. See instructions ~~~~~~~~~~        4
     5      Total business interest expense. Add lines 1 through 4 ••••••••••••••••••••••• |                              5                  1,134.

  Section II - Adjusted Taxable Income
                                                                  Taxable Income

     6      Taxable income. See instructions •••••••••••••••••••••••••••••••••••••                                        6             227,097.

                               Additions (adjustments to be made if amounts are taken into account on line 6)
     7      Any item of loss or deduction which is not properly allocable to a
            trade or business of the taxpayer. See instructions ~~~~~~~~~~~~               7
     8      Any business interest expense not from a pass-through entity. See
            instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   8   1,134.
    9       Amount of any net operating loss deduction under section 172 ~~~~~~            9
   10       Amount of any qualified business income deduction allowed under
            section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   10
   11       Deduction for depreciation, amortization, or depletion attributable to a trade
            or business. See instructions ~~~~~~~~~~~~~~~~~~~~~~~                          11 10,185.
   12       Amount of any loss or deduction items from a pass-through entity.
            See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 12
   13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                        13
   14       Total current year partner's excess taxable income (Schedule A, line
            44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 14
   15       Total current year S corporation shareholder's excess taxable
            income (Schedule B, line 46, column (c)) ~~~~~~~~~~~~~~~~~                     15
   16       Total. Add lines 7 through 15 ••••••••••••••••••••••••••••••••••••• |                     16                                   11,319.

                               Reductions (adjustments to be made if amounts are taken into account on line 6)
   17       Any item of income or gain which is not properly allocable to a trade
            or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                    17
   18       Any business interest income not from a pass-through entity. See instructions 18
   19       Amount of any income or gain items from a pass-through entity.
            See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   19
   20       Other reductions. See instructions ~~~~~~~~~~~~~~~~~~~~                          20
   21       Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                      21
   22       Adjusted taxable income. Combine lines 6, 16, and 21. (If zero or less, enter -0-.) ••••••••••• |            22             238,416.

  Section III - Business Interest Income
   23        Current year business interest income. See instructions ~~~~~~~~~~        23
   24        Excess business interest income from pass-through entities (total of
             Schedule A, line 44, column (g); and Schedule B, line 46, column (d))~~~~ 24
   25        Total. Add lines 23 and 24 •••••••••••••••••••••••••••••••••••••• |                                         25
  923211   01-08-20 LHA For Paperwork Reduction Act Notice, see the instructions.                                          Form   8990     (Rev. 12-2019)
                                                                    21
17490317 132085 38-03373.000                            2019.03011 TRB ARLINGTON, LLC                                                 38-030Z1
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  Section IV - Section 163(j) Limitation Calculations

                                                       Limitation on Business Interest Expense
   26     Multiply adjusted taxable income (line 22) by 30% (0.30). See
          instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                  26 71,525.
   27     Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~       27
   28     Floor plan financing interest expense (line 4)~~~~~~~~~~~~~~~~ 28
   29     Total. Add lines 26, 27, and 28 •••••••••••••••••••••••••••••••••••• |    29                                                         71,525.

                                                         Allowable Business Interest Expense
   30     Total current year business interest expense deduction. See instructions ••••••••••••••••                            30                1,134.

                                                                        Carryforward
   31     Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.) •••••••            31
   Part II     Partnership Pass-Through Items
   Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
   and are not carried forward by the partnership. See the instructions for more information.

                                                           Excess Business Interest Expense
   32     Excess business interest expense. Enter amount from line 31 ••••••••••••••••••••••                                   32

                                 Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)
   33     Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                     33              1,134.
   34     Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             34             70,391.
   35     Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~             35               .9841
   36     Excess Taxable Income. Multiply line 35 by line 22 ••••••••••••••••••••••••••••                                      36            234,636.

                                                           Excess Business Interest Income
   37     Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
          less, enter -0-.) ••••••••••••••••••••••••••••••••••••••••••••••                                                     37
   Part III S Corporation Pass-Through Items
   Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
   See the instructions for more information.

                                                                 Excess Taxable Income
   38     Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                     38
   39     Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             39
   40     Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~             40
   41     Excess Taxable Income. Multiply line 40 by line 22 ••••••••••••••••••••••••••••                                      41

                                                           Excess Business Interest Income
   42     Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
          less, enter -0-.) ••••••••••••••••••••••••••••••••••••••••••••••                                                     42
                                                                                                                                 Form   8990   (Rev. 12-2019)




  923212 01-08-20
                                                                       22
17490317 132085 38-03373.000                               2019.03011 TRB ARLINGTON, LLC                                                     38-030Z1
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TRB ARLINGTON, LLC                               Business Interest Expense                                                                         XX-XXXXXXX
                                                                   Prior Disallowed    Business Interest   Business Interest   Limited Business     Disallowed
                                  Description                      Business Interest                                                              Business Interest
                                                                                           Expense          Expense Ratio      Interest Expense
                                                                       Expense                                                                        Expense
                                                                                                1,134.          1.000000               1,134.




Total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           1,134.          1.000000               1,134.                   0.

                                                                                                                                                       923301 08-28-19
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  Determination of Each Partner's Relevant
  Section 163(j) Items-Worksheet A                                                                                Keep for Your Records


   Before you begin:     u   Complete Form 8990 before beginning this worksheet.
                         u   This worksheet provides space for up to three partners. If there are more than three partners, use more than
                             one worksheet. The total column should reconcile to amounts for all partners.
                                                                               Partner 1           Partner 2           Partner 3              Total
   Step 1: Partnership - level calculation required by section 163(j)(4)(A).
    1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                     238,416.
    2. Partnership's business interest income (Form 8990, line 25) ~                                                                              0.
    3. Partnership's business interest expense (Form 8990, subtract
       line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                             1,134.
    4. Partnership's deductible business interest expense (Form 8990,
       subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                        1,134.
    5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                      0.
    6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                          234,636.
    7. Partnership's excess business interest income (Form 8990, line 37) •                                                                       0.
   Step 2: Determine each partner's relevant section 163(j) items.
   8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                                0.                  0.                  0.       238,416.
   9. Partner's allocable business interest income. See instructions                       0.                  0.                  0.             0.
  10. Partner's allocable business interest expense. See instructions                      0.                  0.                  0.         1,134.
   Step 3: Partner - level comparison of business interest income and business interest expense.
  11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~                    0.                  0.                  0.             0.
  12. Subtract line 9 from line 10. (If zero or less, enter -0-.) •••••                    0.                  0.                  0.         1,134.
   Step 4: Matching partnership and aggregate partner excess business interest income.
  13. Divide line 11 by the line 11 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %             .00%
  14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                    0.
  15. Subtract line 14 from line 11. (If zero or less, enter -0-.) ••••                                                                             0.
   Step 5: Remaining business interest expense determination.
  16. Divide line 12 by the line 12 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %        100.00%
  17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                  0.
  18. Subtract line 17 from line 12. (If zero or less, enter -0-.) ••••                                                                       1,134.
   Step 6: Determination of final allocable ATI.
  19. If line 8 is greater than or equal to $0, enter the amount from
      line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                  0.                  0.       238,416.
  20. If line 8 is less than $0, enter the absolute value of line 8.
      Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                  0.                  0.                 0.
  21. Divide line 19 by the line 19 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %        100.00%
  22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                  0.
  23. Subtract line 22 from line 19. (If zero or less, enter -0-.) ••••                                                                     238,416.
   Step 7: Partner - level comparison of 30% of ATI and remaining business interest expense.
  24. Multiply line 23 by 30% (0.30) ~~~~~~~~~~~~~~~~                                                                                        71,525.
  25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                      70,391.
  26. Subtract line 24 from line 18. (If zero or less, enter -0-.) ••••                                                                           0.




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17490317 132085 38-03373.000                                 2019.03011 TRB ARLINGTON, LLC                                                  38-030Z1
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  Determination of Each Partner's Relevant
  Section 163(j) Items - Worksheet A - Continued                                                                 Keep for Your Records


                                                                                     Partner 1       Partner 2       Partner 3             Total
   Step 8: Partner priority right to ATI capacity excess determination.
  27a.   Is the line 5 total column amount greater than zero?  Yes X No
  27b.   Is the line 20 total column amount greater than zero? Yes X No
  27c.   Is the line 26 total column amount greater than zero? Yes X No
  27d.   Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~       Yes X No
  28.    If line 27d is "No," enter the amount from line 25. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                         70,391.
  29.    If line 27d is "No," enter the amount from line 26. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~                                                                                                   0.
  30.    If line 27d is "No," enter -0-. Otherwise, complete
         Worksheet B •••••••••••••••••••••••                                                                                                       0.
   Step 9: Matching partnership and aggregate partner excess taxable income.
  31.    Divide line 28 by the line 28 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %               %        100.00%
  32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                             0.
  33.    Subtract line 32 from line 28. (If zero or less, enter -0-.) •••                                                                 70,391.
   Step 10: Match partnership and aggregate partner excess business interest expense.
  34.    Divide line 29 by the line 29 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %               %             .00%
  35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                               0.
  36.    If line 30 is greater than zero, enter the amount from line 30.
         Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.) •                                                                 0.
   Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
  37.    Partner's deductible business interest expense. Subtract line
         36 from line 10~~~~~~~~~~~~~~~~~~~~~~~                                                                                            1,134.
  38.    Partner's excess business interest expense. Enter the amount
         from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                 0.
  39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                   234,637.
  40.    Partner's excess business interest income. Enter the amount
         from line 15 ••••••••••••••••••••••••                                                                                                     0.




  923222 01-14-20
                                                                              22.3
17490317 132085 38-03373.000                                      2019.03011 TRB ARLINGTON, LLC                                          38-030Z1
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  Determination of Each Partner's Relevant
  Section 163(j) Items-Worksheet A                                                                                Keep for Your Records


   Before you begin:     u   Complete Form 8990 before beginning this worksheet.
                         u   This worksheet provides space for up to three partners. If there are more than three partners, use more than
                             one worksheet. The total column should reconcile to amounts for all partners.
                                                                               Partner 1           Partner 2           Partner 3              Total
   Step 1: Partnership - level calculation required by section 163(j)(4)(A).
    1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                     238,416.
    2. Partnership's business interest income (Form 8990, line 25) ~                                                                              0.
    3. Partnership's business interest expense (Form 8990, subtract
       line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                             1,134.
    4. Partnership's deductible business interest expense (Form 8990,
       subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                        1,134.
    5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                      0.
    6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                          234,636.
    7. Partnership's excess business interest income (Form 8990, line 37) •                                                                       0.
   Step 2: Determine each partner's relevant section 163(j) items.
   8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                                0.                  0.                  0.       238,416.
   9. Partner's allocable business interest income. See instructions                       0.                  0.                  0.             0.
  10. Partner's allocable business interest expense. See instructions                      0.                  0.                  0.         1,134.
   Step 3: Partner - level comparison of business interest income and business interest expense.
  11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~                    0.                  0.                  0.             0.
  12. Subtract line 9 from line 10. (If zero or less, enter -0-.) •••••                    0.                  0.                  0.         1,134.
   Step 4: Matching partnership and aggregate partner excess business interest income.
  13. Divide line 11 by the line 11 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %             .00%
  14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                    0.
  15. Subtract line 14 from line 11. (If zero or less, enter -0-.) ••••                                                                             0.
   Step 5: Remaining business interest expense determination.
  16. Divide line 12 by the line 12 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %        100.00%
  17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                  0.
  18. Subtract line 17 from line 12. (If zero or less, enter -0-.) ••••                                                                       1,134.
   Step 6: Determination of final allocable ATI.
  19. If line 8 is greater than or equal to $0, enter the amount from
      line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                  0.                  0.       238,416.
  20. If line 8 is less than $0, enter the absolute value of line 8.
      Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                  0.                  0.                 0.
  21. Divide line 19 by the line 19 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %        100.00%
  22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                  0.
  23. Subtract line 22 from line 19. (If zero or less, enter -0-.) ••••                                                                     238,416.
   Step 7: Partner - level comparison of 30% of ATI and remaining business interest expense.
  24. Multiply line 23 by 30% (0.30) ~~~~~~~~~~~~~~~~                                                                                        71,525.
  25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                      70,391.
  26. Subtract line 24 from line 18. (If zero or less, enter -0-.) ••••                                                                           0.




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17490317 132085 38-03373.000                                 2019.03011 TRB ARLINGTON, LLC                                                  38-030Z1
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  Determination of Each Partner's Relevant
  Section 163(j) Items - Worksheet A - Continued                                                                 Keep for Your Records


                                                                                     Partner 1       Partner 2       Partner 3             Total
   Step 8: Partner priority right to ATI capacity excess determination.
  27a.   Is the line 5 total column amount greater than zero?  Yes X No
  27b.   Is the line 20 total column amount greater than zero? Yes X No
  27c.   Is the line 26 total column amount greater than zero? Yes X No
  27d.   Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~       Yes X No
  28.    If line 27d is "No," enter the amount from line 25. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                         70,391.
  29.    If line 27d is "No," enter the amount from line 26. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~                                                                                                   0.
  30.    If line 27d is "No," enter -0-. Otherwise, complete
         Worksheet B •••••••••••••••••••••••                                                                                                       0.
   Step 9: Matching partnership and aggregate partner excess taxable income.
  31.    Divide line 28 by the line 28 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %               %        100.00%
  32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                             0.
  33.    Subtract line 32 from line 28. (If zero or less, enter -0-.) •••                                                                 70,391.
   Step 10: Match partnership and aggregate partner excess business interest expense.
  34.    Divide line 29 by the line 29 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %               %             .00%
  35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                               0.
  36.    If line 30 is greater than zero, enter the amount from line 30.
         Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.) •                                                                 0.
   Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
  37.    Partner's deductible business interest expense. Subtract line
         36 from line 10~~~~~~~~~~~~~~~~~~~~~~~                                                                                            1,134.
  38.    Partner's excess business interest expense. Enter the amount
         from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                 0.
  39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                   234,637.
  40.    Partner's excess business interest income. Enter the amount
         from line 15 ••••••••••••••••••••••••                                                                                                     0.




  923222 01-14-20
                                                                              22.5
17490317 132085 38-03373.000                                      2019.03011 TRB ARLINGTON, LLC                                          38-030Z1
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  Determination of Each Partner's Relevant
  Section 163(j) Items-Worksheet A                                                                                Keep for Your Records


   Before you begin:     u   Complete Form 8990 before beginning this worksheet.
                         u   This worksheet provides space for up to three partners. If there are more than three partners, use more than
                             one worksheet. The total column should reconcile to amounts for all partners.
                                                                               Partner 1           Partner 2           Partner 3              Total
   Step 1: Partnership - level calculation required by section 163(j)(4)(A).
    1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                     238,416.
    2. Partnership's business interest income (Form 8990, line 25) ~                                                                              0.
    3. Partnership's business interest expense (Form 8990, subtract
       line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                             1,134.
    4. Partnership's deductible business interest expense (Form 8990,
       subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                        1,134.
    5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                      0.
    6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                          234,636.
    7. Partnership's excess business interest income (Form 8990, line 37) •                                                                       0.
   Step 2: Determine each partner's relevant section 163(j) items.
   8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                                0.                  0.                  0.       238,416.
   9. Partner's allocable business interest income. See instructions                       0.                  0.                  0.             0.
  10. Partner's allocable business interest expense. See instructions                      0.                  0.                  0.         1,134.
   Step 3: Partner - level comparison of business interest income and business interest expense.
  11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~                    0.                  0.                  0.             0.
  12. Subtract line 9 from line 10. (If zero or less, enter -0-.) •••••                    0.                  0.                  0.         1,134.
   Step 4: Matching partnership and aggregate partner excess business interest income.
  13. Divide line 11 by the line 11 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %             .00%
  14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                    0.
  15. Subtract line 14 from line 11. (If zero or less, enter -0-.) ••••                                                                             0.
   Step 5: Remaining business interest expense determination.
  16. Divide line 12 by the line 12 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %        100.00%
  17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                  0.
  18. Subtract line 17 from line 12. (If zero or less, enter -0-.) ••••                                                                       1,134.
   Step 6: Determination of final allocable ATI.
  19. If line 8 is greater than or equal to $0, enter the amount from
      line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                  0.                  0.       238,416.
  20. If line 8 is less than $0, enter the absolute value of line 8.
      Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                  0.                  0.                 0.
  21. Divide line 19 by the line 19 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %        100.00%
  22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                  0.
  23. Subtract line 22 from line 19. (If zero or less, enter -0-.) ••••                                                                     238,416.
   Step 7: Partner - level comparison of 30% of ATI and remaining business interest expense.
  24. Multiply line 23 by 30% (0.30) ~~~~~~~~~~~~~~~~                                                                                        71,525.
  25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                      70,391.
  26. Subtract line 24 from line 18. (If zero or less, enter -0-.) ••••                                                                           0.




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                                                                         22.6
17490317 132085 38-03373.000                                 2019.03011 TRB ARLINGTON, LLC                                                  38-030Z1
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  Determination of Each Partner's Relevant
  Section 163(j) Items - Worksheet A - Continued                                                                 Keep for Your Records


                                                                                     Partner 1       Partner 2       Partner 3             Total
   Step 8: Partner priority right to ATI capacity excess determination.
  27a.   Is the line 5 total column amount greater than zero?  Yes X No
  27b.   Is the line 20 total column amount greater than zero? Yes X No
  27c.   Is the line 26 total column amount greater than zero? Yes X No
  27d.   Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~       Yes X No
  28.    If line 27d is "No," enter the amount from line 25. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                         70,391.
  29.    If line 27d is "No," enter the amount from line 26. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~                                                                                                   0.
  30.    If line 27d is "No," enter -0-. Otherwise, complete
         Worksheet B •••••••••••••••••••••••                                                                                                       0.
   Step 9: Matching partnership and aggregate partner excess taxable income.
  31.    Divide line 28 by the line 28 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %               %        100.00%
  32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                             0.
  33.    Subtract line 32 from line 28. (If zero or less, enter -0-.) •••                                                                 70,391.
   Step 10: Match partnership and aggregate partner excess business interest expense.
  34.    Divide line 29 by the line 29 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %               %             .00%
  35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                               0.
  36.    If line 30 is greater than zero, enter the amount from line 30.
         Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.) •                                                                 0.
   Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
  37.    Partner's deductible business interest expense. Subtract line
         36 from line 10~~~~~~~~~~~~~~~~~~~~~~~                                                                                            1,134.
  38.    Partner's excess business interest expense. Enter the amount
         from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                 0.
  39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                   234,637.
  40.    Partner's excess business interest income. Enter the amount
         from line 15 ••••••••••••••••••••••••                                                                                                     0.




  923222 01-14-20
                                                                              22.7
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  Determination of Each Partner's Relevant
  Section 163(j) Items-Worksheet A                                                                                Keep for Your Records


   Before you begin:     u   Complete Form 8990 before beginning this worksheet.
                         u   This worksheet provides space for up to three partners. If there are more than three partners, use more than
                             one worksheet. The total column should reconcile to amounts for all partners.
                                                                               Partner 1           Partner 2           Partner 3              Total
   Step 1: Partnership - level calculation required by section 163(j)(4)(A).
    1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                     238,416.
    2. Partnership's business interest income (Form 8990, line 25) ~                                                                              0.
    3. Partnership's business interest expense (Form 8990, subtract
       line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                             1,134.
    4. Partnership's deductible business interest expense (Form 8990,
       subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                        1,134.
    5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                      0.
    6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                          234,636.
    7. Partnership's excess business interest income (Form 8990, line 37) •                                                                       0.
   Step 2: Determine each partner's relevant section 163(j) items.
   8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                                0.                  0.                  0.       238,416.
   9. Partner's allocable business interest income. See instructions                       0.                  0.                  0.             0.
  10. Partner's allocable business interest expense. See instructions                      0.                  0.                  0.         1,134.
   Step 3: Partner - level comparison of business interest income and business interest expense.
  11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~                    0.                  0.                  0.             0.
  12. Subtract line 9 from line 10. (If zero or less, enter -0-.) •••••                    0.                  0.                  0.         1,134.
   Step 4: Matching partnership and aggregate partner excess business interest income.
  13. Divide line 11 by the line 11 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %             .00%
  14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                    0.
  15. Subtract line 14 from line 11. (If zero or less, enter -0-.) ••••                                                                             0.
   Step 5: Remaining business interest expense determination.
  16. Divide line 12 by the line 12 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %        100.00%
  17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                  0.
  18. Subtract line 17 from line 12. (If zero or less, enter -0-.) ••••                                                                       1,134.
   Step 6: Determination of final allocable ATI.
  19. If line 8 is greater than or equal to $0, enter the amount from
      line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                  0.                  0.       238,416.
  20. If line 8 is less than $0, enter the absolute value of line 8.
      Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                  0.                  0.                 0.
  21. Divide line 19 by the line 19 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %        100.00%
  22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                  0.
  23. Subtract line 22 from line 19. (If zero or less, enter -0-.) ••••                                                                     238,416.
   Step 7: Partner - level comparison of 30% of ATI and remaining business interest expense.
  24. Multiply line 23 by 30% (0.30) ~~~~~~~~~~~~~~~~                                                                                        71,525.
  25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                      70,391.
  26. Subtract line 24 from line 18. (If zero or less, enter -0-.) ••••                                                                           0.




  LHA
  923221 01-14-20
                                                                         22.8
17490317 132085 38-03373.000                                 2019.03011 TRB ARLINGTON, LLC                                                  38-030Z1
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  Determination of Each Partner's Relevant
  Section 163(j) Items - Worksheet A - Continued                                                                 Keep for Your Records


                                                                                     Partner 1       Partner 2       Partner 3             Total
   Step 8: Partner priority right to ATI capacity excess determination.
  27a.   Is the line 5 total column amount greater than zero?  Yes X No
  27b.   Is the line 20 total column amount greater than zero? Yes X No
  27c.   Is the line 26 total column amount greater than zero? Yes X No
  27d.   Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~       Yes X No
  28.    If line 27d is "No," enter the amount from line 25. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                         70,391.
  29.    If line 27d is "No," enter the amount from line 26. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~                                                                                                   0.
  30.    If line 27d is "No," enter -0-. Otherwise, complete
         Worksheet B •••••••••••••••••••••••                                                                                                       0.
   Step 9: Matching partnership and aggregate partner excess taxable income.
  31.    Divide line 28 by the line 28 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %               %        100.00%
  32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                             0.
  33.    Subtract line 32 from line 28. (If zero or less, enter -0-.) •••                                                                 70,391.
   Step 10: Match partnership and aggregate partner excess business interest expense.
  34.    Divide line 29 by the line 29 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %               %             .00%
  35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                               0.
  36.    If line 30 is greater than zero, enter the amount from line 30.
         Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.) •                                                                 0.
   Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
  37.    Partner's deductible business interest expense. Subtract line
         36 from line 10~~~~~~~~~~~~~~~~~~~~~~~                                                                                            1,134.
  38.    Partner's excess business interest expense. Enter the amount
         from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                 0.
  39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                   234,637.
  40.    Partner's excess business interest income. Enter the amount
         from line 15 ••••••••••••••••••••••••                                                                                                     0.




  923222 01-14-20
                                                                              22.9
17490317 132085 38-03373.000                                      2019.03011 TRB ARLINGTON, LLC                                          38-030Z1
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  Determination of Each Partner's Relevant
  Section 163(j) Items-Worksheet A                                                                                Keep for Your Records


   Before you begin:     u   Complete Form 8990 before beginning this worksheet.
                         u   This worksheet provides space for up to three partners. If there are more than three partners, use more than
                             one worksheet. The total column should reconcile to amounts for all partners.
                                                                               Partner 1           Partner 2           Partner 3              Total
   Step 1: Partnership - level calculation required by section 163(j)(4)(A).
    1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                     238,416.
    2. Partnership's business interest income (Form 8990, line 25) ~                                                                              0.
    3. Partnership's business interest expense (Form 8990, subtract
       line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                             1,134.
    4. Partnership's deductible business interest expense (Form 8990,
       subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                        1,134.
    5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                      0.
    6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                          234,636.
    7. Partnership's excess business interest income (Form 8990, line 37) •                                                                       0.
   Step 2: Determine each partner's relevant section 163(j) items.
   8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                                0.     238,416.                         0.       238,416.
   9. Partner's allocable business interest income. See instructions                       0.           0.                         0.             0.
  10. Partner's allocable business interest expense. See instructions                      0.       1,134.                         0.         1,134.
   Step 3: Partner - level comparison of business interest income and business interest expense.
  11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~                    0.             0.                       0.             0.
  12. Subtract line 9 from line 10. (If zero or less, enter -0-.) •••••                    0.         1,134.                       0.         1,134.
   Step 4: Matching partnership and aggregate partner excess business interest income.
  13. Divide line 11 by the line 11 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %             .00%
  14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                    0.
  15. Subtract line 14 from line 11. (If zero or less, enter -0-.) ••••                                                                             0.
   Step 5: Remaining business interest expense determination.
  16. Divide line 12 by the line 12 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %       100.00%                         %        100.00%
  17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                  0.
  18. Subtract line 17 from line 12. (If zero or less, enter -0-.) ••••                               1,134.                                  1,134.
   Step 6: Determination of final allocable ATI.
  19. If line 8 is greater than or equal to $0, enter the amount from
      line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.     238,416.                         0.       238,416.
  20. If line 8 is less than $0, enter the absolute value of line 8.
      Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                  0.                  0.                 0.
  21. Divide line 19 by the line 19 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %       100.00%                         %        100.00%
  22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                  0.
  23. Subtract line 22 from line 19. (If zero or less, enter -0-.) ••••                           238,416.                                  238,416.
   Step 7: Partner - level comparison of 30% of ATI and remaining business interest expense.
  24. Multiply line 23 by 30% (0.30) ~~~~~~~~~~~~~~~~                                               71,525.                                  71,525.
  25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                             70,391.                                  70,391.
  26. Subtract line 24 from line 18. (If zero or less, enter -0-.) ••••                                                                           0.




  LHA
  923221 01-14-20
                                                                         22.10
17490317 132085 38-03373.000                                 2019.03011 TRB ARLINGTON, LLC                                                  38-030Z1
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  Determination of Each Partner's Relevant
  Section 163(j) Items - Worksheet A - Continued                                                                 Keep for Your Records


                                                                                     Partner 1       Partner 2       Partner 3             Total
   Step 8: Partner priority right to ATI capacity excess determination.
  27a.   Is the line 5 total column amount greater than zero?  Yes X No
  27b.   Is the line 20 total column amount greater than zero? Yes X No
  27c.   Is the line 26 total column amount greater than zero? Yes X No
  27d.   Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~       Yes X No
  28.    If line 27d is "No," enter the amount from line 25. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                     70,391.                             70,391.
  29.    If line 27d is "No," enter the amount from line 26. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~                                                                                                   0.
  30.    If line 27d is "No," enter -0-. Otherwise, complete
         Worksheet B •••••••••••••••••••••••                                                                                                       0.
   Step 9: Matching partnership and aggregate partner excess taxable income.
  31.    Divide line 28 by the line 28 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %    100.00%                    %        100.00%
  32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                             0.
  33.    Subtract line 32 from line 28. (If zero or less, enter -0-.) •••                             70,391.                             70,391.
   Step 10: Match partnership and aggregate partner excess business interest expense.
  34.    Divide line 29 by the line 29 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %               %             .00%
  35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                               0.
  36.    If line 30 is greater than zero, enter the amount from line 30.
         Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.) •                                                                 0.
   Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
  37.    Partner's deductible business interest expense. Subtract line
         36 from line 10~~~~~~~~~~~~~~~~~~~~~~~                                                        1,134.                              1,134.
  38.    Partner's excess business interest expense. Enter the amount
         from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                 0.
  39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                               234,637.                            234,637.
  40.    Partner's excess business interest income. Enter the amount
         from line 15 ••••••••••••••••••••••••                                                                                                     0.




  923222 01-14-20
                                                                              22.11
17490317 132085 38-03373.000                                      2019.03011 TRB ARLINGTON, LLC                                          38-030Z1
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                                    Worksheet for Figuring Net Earnings (Loss) From Self-Employment

  Name of partnership                                                                                                             Employer identification number


          TRB ARLINGTON, LLC                                                                                                         XX-XXXXXXX
  1a      Ordinary income (loss) (Schedule K, line 1) ~~~~~~~~~~~~~~~~~~~~                                1a        226,087.
   b      Net income (loss) from CERTAIN rental real estate activities ~~~~~~~~~~~~~                      1b
   c      Net income (loss) from other rental activities (Schedule K, line 3c) ~~~~~~~~~~                 1c
   d      Net loss from Form 4797, Part II, line 17, included on line 1a above. Enter as a positive
          amount ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     1d
   e      Other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1e
   f      Combine lines 1a through 1e ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          1f        226,087.
  2a      Net gain from Form 4797, Part II, line 17, included on line 1a above ~~~~~~~~~~                 2a
   b      Other subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2b
   c      Add lines 2a and 2b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             2c
  3a      Subtract line 2c from line 1f. If line 1f is a loss, increase the loss on line 1f by the amount
          on line 2c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  3a        226,087.
      b   Part of line 3a allocated to limited partners, estates, trusts, corporations, exempt
          organizations, and IRAs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           3b
   c      Subtract line 3b from line 3a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           3c              226,087.
  4a      Guaranteed payments to partners (Schedule K, line 4a) derived from a trade or business
          as defined in section 1402(c) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4a
      b   Part of line 4a allocated to individual limited partners for other than services and to
          estates, trusts, corporations, exempt organizations, and IRAs ~~~~~~~~~~~~                      4b
      c   Subtract line 4b from line 4a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          4c
  5       Net earnings (loss) from self-employment. Combine lines 3c and 4c. Enter here and on Schedule K, line 14a •••••••  5               226,087.




  912161
  12-30-19
                                                                        22.12
17490317 132085 38-03373.000                                2019.03011 TRB ARLINGTON, LLC                                                   38-030Z1
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TRB ARLINGTON, LLC                           Qualified Business Income (Section 199A)                                                                      XX-XXXXXXX
                                                             Ordinary Business       Rental            Royalty        Section 1231            Other       Section 179
SSTB PTP             Description                 EIN
                                                               Income (Loss)     Income (Loss)      Income (Loss)      Gain (Loss)        Income (Loss)    Deduction
                                                                     226,087.
           RENTAL                                                                          1,010.
           TOTAL                                                     226,087.              1,010.




                                              Charitable          Other                              Unadjusted                   Cooperative
SSTB PTP             Description                                                     W-2 Wages                           Qualified                         Reserved
                                             Contributions      Deductions                          Basis of Assets   Business Income       W-2 Wages
                                                                                         497,876.          658,839.
           RENTAL
           TOTAL                                                                         497,876.          658,839.




Qualified REIT dividends ~~~~~~~~~~~~~~~~~                                   22.13                                                                          914821 12-19-19
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                                             Worksheet for Adjusted Current Earnings Adjustments


  Name of partnership                                                                                              Employer identification number


      TRB ARLINGTON, LLC                                                                                              XX-XXXXXXX
  1. Additions to AMTI:
     a. Depreciation recomputed for AMT purposes ~~~~~~~~~~~~~~~~~~~~~~~~~                                8,245.
     b. Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     c. Amortization of IRC 173 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     d. Depletion for post-1989 properties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     e. Intangible drilling costs deducted from AMTI ~~~~~~~~~~~~~~~~~~~~~~~~


     f. Total additions to AMTI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    8,245.

  2. Deductions:
     a. Depreciation recomputed for ACE purposes ~~~~~~~~~~~~~~~~~~~~~~~~~                                8,245.
     b. Depletion recomputed for ACE purposes ~~~~~~~~~~~~~~~~~~~~~~~~~~~
     c. ACE intangible drilling costs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


     d. Total deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        8,245.

  3. Other adjustments:
     a. Basis adjustments from sales or exchanges ~~~~~~~~~~~~~~~~~~~~~~~~~
     b. Other adjustments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


     c. Total other adjustments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


  4. Total adjustments to AMTI for ACE calculation. Combine lines 1f, 2d and 3c   •••••••••••••••••••••••••                                   0.




  912181 04-01-19
                                                                          22.14
17490317 132085 38-03373.000                                  2019.03011 TRB ARLINGTON, LLC                                  38-030Z1
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    Section 1.263(a)-1(f) De Minimis Safe Harbor Election




   TRB Arlington, LLC
   5601 SEARS STREET SUITE B
   Dallas, TX 75206


   Employer Identification Number:           XX-XXXXXXX


   For the Year Ending December 31, 2019


   TRB Arlington, LLC is making the de minimis safe harbor election
   under Reg. Sec. 1.263(a)-1(f).
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  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065                        TAX EXPENSE                     STATEMENT   1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
LIQUOR TAX                                                                             7,695.
PAYROLL TAXES                                                                         40,070.
TAXES AND LICENSES EXPENSE                                                             6,006.
                                                                               }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 14                                                           53,771.
                                                                               ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065                      OTHER DEDUCTIONS                  STATEMENT   2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
100% DEDUCTIBLE MEALS & ENTERTAINMENT                                                 10,923.
ADVERTISING                                                                            3,501.
AMORTIZATION EXPENSE                                                                   1,940.
BANK CHARGES                                                                          32,356.
DUES AND SUBSCRIPTIONS                                                                 6,293.
INSURANCE                                                                             22,616.
LEASE EQUIPMENT                                                                       13,022.
MANAGEMENT FEE                                                                        63,250.
MISCELLANEOUS EXPENSE                                                                 12,733.
OFFICE SUPPLIES                                                                           858.
OUTSIDE SERVICE                                                                        8,717.
PROFESSIONAL FEES                                                                     14,642.
RECRUITING EXPENSES                                                                       786.
SECURITY EXPENSE                                                                       1,057.
TRAINING                                                                                  202.
UTILITIES AND TELEPHONE                                                               46,288.
                                                                               }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 20                                                          239,184.
                                                                               ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K      NET INCOME (LOSS) FROM OTHER RENTAL ACTIVITIES   STATEMENT   3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                           INCOME     EXPENSES    NET AMOUNT
}}}}}}}}}}}                                         }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}}
                                                         1,010.           0.      1,010.
                                                    }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}}
TOTALS TO SCHEDULE K, LINE 3                             1,010.           0.      1,010.
                                                    ~~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~~




                                               24              STATEMENT(S) 1, 2, 3
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  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                        OTHER CREDITS                  STATEMENT   4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
WORK OPPORTUNITY CREDIT                                                                2,362.
CREDIT FOR SOC. SEC. AND MEDICARE TAXES PAID                                           7,664.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 15F                                                         10,026.
                                                                               ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                  NONDEDUCTIBLE EXPENSE                STATEMENT   5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
TAX DEDUCTION ADJUSTMENT FOR FORM 8846                                                 7,664.
WAGE DEDUCTION ADJUSTMENT FOR EMPLOYMENT CREDIT                                        2,362.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 18C                                                         10,026.
                                                                               ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                       OTHER ITEMS                     STATEMENT   6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
EXCESS TAXABLE INCOME                                                                234,636.
SECTION 199A - ORDINARY INCOME (LOSS)                                                226,087.
SECTION 199A - RENTAL INCOME (LOSS)                                                    1,010.
SECTION 199A W-2 WAGES                                                               497,876.
SECTION 199A UNADJUSTED BASIS OF ASSETS                                              658,839.

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                  OTHER CURRENT ASSETS                 STATEMENT   7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
DESCRIPTION                                                    TAX YEAR         YEAR
}}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DSR VISA/MC CLEARING ACCOUNT                                       21,717.             0.
PREPAID EXPENSES                                                      954.         3,567.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 6                                        22,671.         3,567.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                               25           STATEMENT(S) 4, 5, 6, 7
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  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                      OTHER ASSETS                     STATEMENT   8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
DESCRIPTION                                                    TAX YEAR         YEAR
}}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DUE TO/FROM   BRAIN STORM SHELTER                                   2,854.             0.
DUE TO/FROM   COWBOY CHOW ROANOAKE                                  7,500.         7,642.
DUE TO/FROM   TRB IP HOLDINGS                                           0.        15,576.
DUE TO/FROM   TRB LEWISVILLE                                        3,319.             0.
DUE TO/FROM   TRUCK YARD HOUSTON EADO                               4,601.             0.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 13                                       18,274.        23,218.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                OTHER CURRENT LIABILITIES              STATEMENT   9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
DESCRIPTION                                                    TAX YEAR         YEAR
}}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ACCRUED EXPENSES                                                   37,598.        27,651.
ACCRUED PAYROLL                                                     1,224.         1,799.
CREDIT CARD PAYABLE                                                   -10.         7,683.
CREDIT CARD PROCESSING FEE PAYABLE                                  2,777.             0.
DISTRIBUTION PAYABLE                                                    0.        36,750.
GIFT CERTIFICATES OUTSTANDING                                       4,455.         4,828.
NET PAYROLL CHECKS PAYABLE                                          2,081.             0.
PAYROLL LIABILITIES                                                14,335.             0.
SALES TAX PAYABLE                                                  11,942.         8,842.
TABC TAX PAYABLE                                                      706.           521.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 17                                       75,108.        88,074.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                    OTHER LIABILITIES                  STATEMENT 10
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
DESCRIPTION                                                    TAX YEAR         YEAR
}}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DUE TO/FROM BRAIN STORM SHELTER                                         0.         7,676.
DUE TO/FROM GRANDMARC AUSTIN                                        2,660.             0.
DUE TO/FROM TRB HOLDINGS                                            5,260.             0.
LEASE LIABILITY                                                    16,033.         5,612.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 20                                       23,953.        13,288.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                               26             STATEMENT(S) 8, 9, 10
17490317 132085 38-03373.000       2019.03011 TRB ARLINGTON, LLC          38-030Z1
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  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065             PARTNERS' CAPITAL ACCOUNT SUMMARY          STATEMENT 11
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

PARTNER      BEGINNING         CAPITAL         SCHEDULE M-2         WITH-             ENDING
NUMBER        CAPITAL        CONTRIBUTED       LNS 3, 4 & 7        DRAWALS            CAPITAL
}}}}}}}     }}}}}}}}}}}}     }}}}}}}}}}}}      }}}}}}}}}}}}      }}}}}}}}}}}}       }}}}}}}}}}}}

        2          5,946.                              1,038.            3,750.            3,234.

        3          5,949.                              1,038.            3,750.            3,237.

        4          5,949.                              1,038.            3,750.            3,237.

        5          5,949.                              1,038.            3,750.            3,237.

        6          5,946.                              1,038.            3,750.            3,234.

        8          5,946.                              1,038.            3,750.            3,234.

        9          5,952.                              1,038.            3,750.            3,240.

     11            5,949.                              1,038.            3,750.            3,237.

     12            5,948.                              1,038.            3,750.            3,236.

     13            5,947.                              1,038.            3,750.            3,235.

     14            5,948.                              1,038.            3,750.            3,236.

     15           47,584.                              8,301.           30,000.           25,885.

     16            5,945.                              1,038.            3,750.            3,233.

     17          -85,697.                            232,614.         183,750.           -36,833.

     18            5,949.                              1,038.            3,750.            3,237.

            }}}}}}}}}}}}     }}}}}}}}}}}}      }}}}}}}}}}}}      }}}}}}}}}}}}       }}}}}}}}}}}}
TOTAL            39,210.                           254,409.          262,500.            31,119.
            ~~~~~~~~~~~~     ~~~~~~~~~~~~      ~~~~~~~~~~~~      ~~~~~~~~~~~~       ~~~~~~~~~~~~




                                                 27                             STATEMENT(S) 11
17490317 132085 38-03373.000         2019.03011 TRB ARLINGTON, LLC                    38-030Z1
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 64 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
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SCHEDULE M-2                   OTHER INCREASES                   STATEMENT 12
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                               72,637.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 4                                                         72,637.
                                                                               ~~~~~~~~~~~~~~




                                               28                             STATEMENT(S) 12
17490317 132085 38-03373.000       2019.03011 TRB ARLINGTON, LLC                    38-030Z1
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 65 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
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                ELECTRONIC FILING GENERAL NOTES AND EXPLANATIONS STATEMENT 13
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 GENERAL NOTE

 FORM, LINE AND/OR INSTRUCTION REFERENCE FOR GENERAL NOTE OR ELECTION
 FORM 8275

 REGULATION REFERENCE FOR GENERAL NOTE OR ELECTION


 DESCRIPTION FOR GENERAL NOTE OR ELECTION


 EXPLANATION
 THE TAXPAYER IS PRESENTLY USING AN IMPERMISSIBLE METHOD OF ACCOUNTING FOR
 SECTION 263A (UNICAP). SPECIFICALLY, THE TAXPAYER HAS NOT ADOPTED THE
 REGULATIONS PUBLISHED ON NOVEMBER 19, 2018 APPLICABLE FOR TAXABLE YEARS
 BEGINNING ON OR AFTER NOVEMBER 20, 2018 (TD 9843). THE TAXPAYER HAS APPLIED
 ITS PRESENT TREATMENT CONSISTENTLY FOR TWO OR MORE CONSECUTIVE TAXABLE
 YEARS AND HAS THUS ESTABLISHED A METHOD OF ACCOUNTING PURSUANT TO SECTION
 446 AND REV. RUL. 90-38, WHICH MAY ONLY BE CHANGED WITH IRS CONSENT. UNTIL
 THE TAXPAYER REQUESTS CONSENT TO CHANGE ITS METHOD OF ACCOUNTING, THE
 TAXPAYER MUST CONTINUE TO USE THE IMPERMISSIBLE METHOD OF ACCOUNTING.
 THEREFORE, THERE IS REASONABLE BASIS FOR THE CONTINUED USE OF THE PRESENT
 IMPERMISSIBLE METHOD.




                                               29                             STATEMENT(S) 13
17490317 132085 38-03373.000       2019.03011 TRB ARLINGTON, LLC                    38-030Z1
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 66 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
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                             GROSS RENTAL INCOME                 STATEMENT 14
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}


PROPERTY:
LOCATION:

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
OTHER RENTAL INCOME                                                                    1,010.
                                                                               }}}}}}}}}}}}}}
TOTAL TO RENTAL SCHEDULE, LINE 2                                                       1,010.
                                                                               ~~~~~~~~~~~~~~

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FORM 1125-A                      OTHER COSTS                     STATEMENT 15
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
SUPPLIES                                                                              81,239.
                                                                               }}}}}}}}}}}}}}
TOTAL TO LINE 5                                                                       81,239.
                                                                               ~~~~~~~~~~~~~~

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SCHEDULE M-3       OTHER INCOME (LOSS) ITEMS WITH DIFFERENCES    STATEMENT 16
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                                 INCOME                                              INCOME
                                 (LOSS)                                              (LOSS)
                               PER INCOME            TEMPORARY      PERMANENT        PER TAX
DESCRIPTION                     STATEMENT           DIFFERENCE     DIFFERENCE        RETURN
}}}}}}}}}}}                   }}}}}}}}}}}           }}}}}}}}}}}    }}}}}}}}}}}     }}}}}}}}}}}
SALES                           1,580,654.               2,884.             0.      1,583,538.
                               }}}}}}}}}}}          }}}}}}}}}}}    }}}}}}}}}}}     }}}}}}}}}}}
TOTAL TO M-3, PART II, LINE 22 1,580,654.                2,884.             0.      1,583,538.
                               ~~~~~~~~~~~          ~~~~~~~~~~~    ~~~~~~~~~~~     ~~~~~~~~~~~

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FORM 8916-A               OTHER ITEMS WITH DIFFERENCES           STATEMENT 17
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                    PER INCOME       TEMPORARY      PERMANENT    PER TAX
DESCRIPTION                          STATEMENT      DIFFERENCE     DIFFERENCE    RETURN
}}}}}}}}}}}                         }}}}}}}}}}}     }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}
CREDIT ADJUSTMENT                            0.              0.       -10,026.    -10,026.
                                    }}}}}}}}}}}     }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}
TOTAL TO LINE 6                              0.              0.       -10,026.    -10,026.
                                    ~~~~~~~~~~~     ~~~~~~~~~~~    ~~~~~~~~~~~ ~~~~~~~~~~~




                                               30       STATEMENT(S) 14, 15, 16, 17
17490317 132085 38-03373.000       2019.03011 TRB ARLINGTON, LLC          38-030Z1
        GARY
         CaseASH
              20-31616-sgj11                      Doc 1 Filed 06/08/20                           Entered 06/08/20 21:07:42                                              Page 67 of 104
                                                                                                                                                                                              651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XXX-XX-XXXX                                                                                              6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                            6c Dividend equivalents
  GARY ASH
  5605 FM 423 STE 500 PMB 121                                                                                     7 Royalties                                       19 Distributions
  FRISCO, TX 75034                                                                                                                                                  A                      3,750.
  G   General partner or LLC X Limited partner or other LLC                                                       8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7611281%                                  4.7611281%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                          5,946.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,234.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
                                                                                                                                                                                                    2
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 68 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                     AMOUNT         TOTALS
}}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
                                                                           }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
                                                                           ~~~~~~~~~~~~~~


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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 GAAP




                                                                       PARTNER NUMBER 2
        GARDEVIANCE,   LLC
         Case 20-31616-sgj11                      Doc 1 Filed 06/08/20                           Entered 06/08/20 21:07:42                                              Page 69 of 104
                                                                                                                                                                                              651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XX-XXXXXXX                                                                                               6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                            6c Dividend equivalents
  GARDEVIANCE, LLC
  1700 PACIFIC AVE, SUITE 4710                                                                                    7 Royalties                                       19 Distributions
  DALLAS, TX 75201                                                                                                                                                  A                      3,750.
  G   General partner or LLC X Limited partner or other LLC                                                       8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? PARTNERSHIP
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7619436%                                  4.7619436%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                          5,949.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,237.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
                                                                                                                                                                                                    3
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 70 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                     AMOUNT         TOTALS
}}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
                                                                           }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
                                                                           ~~~~~~~~~~~~~~


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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 GAAP




                                                                       PARTNER NUMBER 3
        MARIA GUEMEZ
         Case 20-31616-sgj11                      Doc 1 Filed 06/08/20                           Entered 06/08/20 21:07:42                                              Page 71 of 104
                                                                                                                                                                                              651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XXX-XX-XXXX                                                                                              6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                            6c Dividend equivalents
  MARIA GUEMEZ
  111 DORSETT DR.                                                                                                 7 Royalties                                       19 Distributions
  IRVING, TX 75063                                                                                                                                                  A                      3,750.
  G          General partner or LLC                          X      Limited partner or other LLC                  8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7611281%                                  4.7611281%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                          5,949.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,237.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
                                                                                                                                                                                                    4
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 72 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                     AMOUNT         TOTALS
}}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
                                                                           }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
                                                                           ~~~~~~~~~~~~~~


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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 GAAP




                                                                       PARTNER NUMBER 4
        QUINCY  HART
         Case 20-31616-sgj11                      Doc 1 Filed 06/08/20                           Entered 06/08/20 21:07:42                                              Page 73 of 104
                                                                                                                                                                                              651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XXX-XX-XXXX                                                                                              6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                            6c Dividend equivalents
  QUINCY HART
  1504 MOUNTAIN LAUREL LN.                                                                                        7 Royalties                                       19 Distributions
  DESOTO, TX 75115                                                                                                                                                  A                      3,750.
  G          General partner or LLC                          X      Limited partner or other LLC                  8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7643902%                                  4.7643902%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                          5,949.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,237.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
                                                                                                                                                                                                    5
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 74 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                     AMOUNT         TOTALS
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PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
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TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 GAAP




                                                                       PARTNER NUMBER 5
        JIM HAZARD
         Case 20-31616-sgj11                      Doc 1 Filed 06/08/20                           Entered 06/08/20 21:07:42                                              Page 75 of 104
                                                                                                                                                                                              651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XXX-XX-XXXX                                                                                              6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                            6c Dividend equivalents
  JIM HAZARD
  6275 MARTEL AVE                                                                                                 7 Royalties                                       19 Distributions
  DALLAS, TX 75214                                                                                                                                                  A                      3,750.
  G          General partner or LLC                          X      Limited partner or other LLC                  8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7603125%                                  4.7603125%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                          5,946.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,234.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
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      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 76 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                     AMOUNT         TOTALS
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PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
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TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 GAAP




                                                                       PARTNER NUMBER 6
        MICHAEL  KRUG
         Case 20-31616-sgj11                      Doc 1 Filed 06/08/20                           Entered 06/08/20 21:07:42                                              Page 77 of 104
                                                                                                                                                                                              651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XXX-XX-XXXX                                                                                              6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                            6c Dividend equivalents
  MICHAEL KRUG
  1201 PRAIRIE DR.                                                                                                7 Royalties                                       19 Distributions
  ALGONQUIN, IL 60102                                                                                                                                               A                      3,750.
  G          General partner or LLC                          X      Limited partner or other LLC                  8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7603125%                                  4.7603125%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                          5,946.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,234.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
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  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                     AMOUNT         TOTALS
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PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
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TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 GAAP




                                                                       PARTNER NUMBER 8
        ROBERTO  MORENO
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XXX-XX-XXXX                                                                                              6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                            6c Dividend equivalents
  ROBERTO MORENO
  806 WINFLO DR. #5                                                                                               7 Royalties                                       19 Distributions
  AUSTIN, TX 78703                                                                                                                                                  A                      3,750.
  G          General partner or LLC                          X      Limited partner or other LLC                  8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7652058%                                  4.7652058%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                          5,952.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,240.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
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  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                     AMOUNT         TOTALS
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PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
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TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 GAAP




                                                                       PARTNER NUMBER 9
        J.J.
         CasePLEDGER
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XXX-XX-XXXX                                                                                              6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                            6c Dividend equivalents
  J.J. PLEDGER
  6710 DALHART LN                                                                                                 7 Royalties                                       19 Distributions
  DALLAS, TX 75214                                                                                                                                                  A                      3,750.
  G          General partner or LLC                          X      Limited partner or other LLC                  8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7619436%                                  4.7619436%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                          5,949.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,237.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
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  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                     AMOUNT         TOTALS
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PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
                                                                           }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 GAAP




                                                                       PARTNER NUMBER 11
        THE DOUGLAS
         Case        S RINGDoc
              20-31616-sgj11 & KIMBERLY    K RING
                               1 Filed 06/08/20 Entered                                                                         06/08/20 21:07:42                       Page 83 of 104
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XXX-XX-XXXX                                                                                              6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
  THE DOUGLAS S RING & KIMBERLY K                                                                           6c Dividend equivalents
  RING REVOCABLE TRUST ORIGINALLY DTD
  4648 PONY COURT                                                                                                 7 Royalties                                       19 Distributions
  CARROLLTON, TX 75010                                                                                                                                              A                      3,750.
  G   General partner or LLC X Limited partner or other LLC                                                       8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? TRUST
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7619436%                                  4.7619436%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                          5,948.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,236.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
                                                                                                                                                                                                  12
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 84 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                     AMOUNT         TOTALS
}}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
                                                                           }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 GAAP




                                                                       PARTNER NUMBER 12
        TALUJU  PROPERTIES Doc
         Case 20-31616-sgj11 C/O1 BRAD   RISPONE
                                  Filed 06/08/20                                                 Entered 06/08/20 21:07:42                                              Page 85 of 104
                                                                                                                                                                                              651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XX-XXXXXXX                                                                                               6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
  TALUJU PROPERTIES                                                                                         6c Dividend equivalents
  C/O BRAD RISPONE
  13734 LEXHHAM GARDEN AVE.                                                                                       7 Royalties                                       19 Distributions
  BATON ROUGE, LA 70810                                                                                                                                             A                      3,750.
  G   General partner or LLC X                                      Limited partner or other LLC                  8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? LLC
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7611281%                                  4.7611281%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT
       Beginning capital account ~~~~~~~~~~                   $                          5,947.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,235.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
                                                                                                                                                                                                  13
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 86 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                     AMOUNT         TOTALS
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PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
                                                                           }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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                                                                       PARTNER NUMBER 13
        PHILLIP  WETZEL
         Case 20-31616-sgj11                      Doc 1 Filed 06/08/20                           Entered 06/08/20 21:07:42                                              Page 87 of 104
                                                                                                                                                                                              651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XXX-XX-XXXX                                                                                              6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                            6c Dividend equivalents
  PHILLIP WETZEL
  8228 KILLDEER CIRCLE                                                                                            7 Royalties                                       19 Distributions
  FT. WORTH, TX 76108                                                                                                                                               A                      3,750.
  G          General partner or LLC                          X      Limited partner or other LLC                  8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7619436%                                  4.7619436%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                          5,948.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,236.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
                                                                                                                                                                                                  14
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 88 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                     AMOUNT         TOTALS
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PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
                                                                           }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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                                                                       PARTNER NUMBER 14
        UMAR
         CaseYAZDANI
              20-31616-sgj11                      Doc 1 Filed 06/08/20                           Entered 06/08/20 21:07:42                                              Page 89 of 104
                                                                                                                                                                                              651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XXX-XX-XXXX                                                                                              6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                            6c Dividend equivalents
  UMAR YAZDANI
  2800 LOCH HAVEN DR.                                                                                             7 Royalties                                       19 Distributions
  PLANO, TX 75023                                                                                                                                                   A                   30,000.
  G          General partner or LLC                          X      Limited partner or other LLC                  8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital          38.0947332%                                 38.0947331%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                        47,584.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                             0.             22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                         8,301.               *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                       30,000.)
                                                                                       25,885.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
                                                                                                                                                                                                  15
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 90 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                     AMOUNT         TOTALS
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PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            8,301.
                                                                           }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                                 8,301.
                                                                           ~~~~~~~~~~~~~~


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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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                                                                       PARTNER NUMBER 15
        E Case
           & J 20-31616-sgj11
               PARTNERSHIP                        Doc 1 Filed 06/08/20                           Entered 06/08/20 21:07:42                                              Page 91 of 104
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2019                                           Final K-1                      Amended K-1
                                                                                                                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                       OMB No. 1545-0123

                                                                    For calendar year 2019, or tax year
Internal Revenue Service                                                                                                          Deductions, Credits, and Other Items
                          beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                        0.
Credits, etc.                         | See separate instructions.                                                2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                          16 Foreign transactions
  A Partnership's employer identification number                                                                  3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                 4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                       4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                          4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                     17 Alternative min tax (AMT) items
  E-FILE                                                                                                          5 Interest income
  D          Check if this is a publicly traded partnership (PTP)
   Part II       Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                        18 Tax-exempt income and
  XX-XXXXXXX                                                                                               6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                            6c Dividend equivalents
  E & J PARTNERSHIP
  1212 YELLOWSTONE                                                                                                7 Royalties                                       19 Distributions
  CARROLLTON, TX 75006                                                                                                                                              A                      3,750.
  G          General partner or LLC                          X      Limited partner or other LLC                  8 Net short-term capital gain (loss)
             member-manager                                         member                                                                                          20 Other information
  H1    X    Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                            Name                                                                 9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? PARTNERSHIP
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                             9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                  10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                          11 Other income (loss)
       Capital             4.7603125%                                  4.7603125%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                          Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                  0. $                                      0.
       Qualified nonrecourse                                                                               13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                       Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
             SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                   $                          5,945.
       Capital contributed during the year ~~~~~~~            $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~               $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~      $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                 $(                         3,750.)
                                                                                         3,233.
                                                                                                          For IRS Use Only




       Ending capital account ~~~~~~~~~~~                     $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                       www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
                                                                                                                                                                                                  16
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  TRB ARLINGTON, LLC                                                XX-XXXXXXX
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                     AMOUNT         TOTALS
}}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
                                                                           }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
                                                                           ~~~~~~~~~~~~~~


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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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                                                                       PARTNER NUMBER 16
        JASON BOSO
         Case 20-31616-sgj11                       Doc 1 Filed 06/08/20                           Entered 06/08/20 21:07:42                                            Page 93 of 104
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                 2019                                           Final K-1                   Amended K-1
                                                                                                                          Part III Partner's Share of Current Year Income,
                                                                                                                                                                                     OMB No. 1545-0123

                                                                     For calendar year 2019, or tax year
Internal Revenue Service                                                                                                           Deductions, Credits, and Other Items
                           beginning                                ending                                         1 Ordinary business income (loss)              15 Credits
Partner's Share of Income, Deductions,                                                                                                         226,087. J                                2,362.
Credits, etc.                         | See separate instructions.                                                 2          Net rental real estate income (loss) N                     7,664.
  Part I Information About the Partnership                                                                                                                        16 Foreign transactions
  A Partnership's employer identification number                                                                   3 Other net rental income (loss)
  XX-XXXXXXX                                                                                                                                      1,010.
  B Partnership's name, address, city, state, and ZIP code                                                  4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                        4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                           4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                   17 Alternative min tax (AMT) items
  E-FILE                                                                                                           5 Interest income
  D           Check if this is a publicly traded partnership (PTP)
   Part II        Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                      18 Tax-exempt income and
  XXX-XX-XXXX                                                                                               6b Qualified dividends                                     nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                         C*                          STMT
                                                                                                             6c Dividend equivalents
  JASON BOSO
  5339 BONITA AVE                                                                                                  7 Royalties                                    19 Distributions
  DALLAS, TX 75206                                                                                                                                               A                   183,750.
  G X General partner or LLC                                         Limited partner or other LLC                  8 Net short-term capital gain (loss)
              member-manager                                         member                                                                                       20 Other information
  H1    X     Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)                 Z *                      STMT
  H2    X     If the partner is a disregarded entity (DE), enter the partner's:                                                                                  AE *                 234,636.
       TIN   XX-XXXXXXX                Name    MR. RIGHT HOLDINGS                                           9b Collectibles (28%) gain (loss)                    AH *                     STMT
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                              9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                   10 Net section 1231 gain (loss)
       Profit         100.0000000%                               100.0000000%
       Loss           100.0000000%                               100.0000000%                               11 Other income (loss)
       Capital             0.0000000%                                  0.0000000%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                           Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                      155,298. $                                96,857.
       Qualified nonrecourse                                                                                13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                     7,676.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                        Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
              SEE STATEMENT                                                                  A                                               226,087.
       Beginning capital account ~~~~~~~~~~                    $                     -85,697.C                                               775,218.
       Capital contributed during the year ~~~~~~~             $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~                $                     227,097.               22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~       $                       5,517.                 *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                  $(                    183,750.)
                                                                                     -36,833.
                                                                                                           For IRS Use Only




       Ending capital account ~~~~~~~~~~~                      $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                        www.irs.gov/Form1065                     Schedule K-1 (Form 1065) 2019
                                                                                                                                                                                                17
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 94 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                          PARTNER FILING INSTRUCTIONS                   AMOUNT
}}}}}}}}}}}                          }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
WAGE ADJUSTMENT FOR EMPLOYMENT       NONDEDUCTIBLE PORTION
CREDIT                                                                                   2,362.
TAX EXPENSE ADJUSTMENT FOR FORM      NONDEDUCTIBLE PORTION
8846 CREDIT                                                                            7,664.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                 10,026.
                                                                               ~~~~~~~~~~~~~~

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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}

TRADE OR BUSINESS -

 ORDINARY INCOME (LOSS)                                                                226,087.
 SELF-EMPLOYMENT EARNINGS(LOSS)                                                        226,087.
 W-2 WAGES                                                                             497,876.
 UNADJUSTED BASIS OF ASSETS                                                            658,839.

RENT - RENTAL

 RENTAL INCOME (LOSS)                                                                    1,010.


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                          PARTNER FILING INSTRUCTIONS                   AMOUNT
}}}}}}}}}}}                          }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
TAX BASIS CAPITAL ACCOUNT
12/31/2018                                                                           -101,394.
TAX BASIS CAPITAL ACCOUNT
12/31/2019                                                                             -68,073.




                                                                       PARTNER NUMBER 17
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 95 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
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SCHEDULE K-1         EXCESS TAXABLE INCOME, BOX 20, CODE AE
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DESCRIPTION                          PARTNER FILING INSTRUCTIONS                   AMOUNT
}}}}}}}}}}}                          }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
EXCESS TAXABLE INCOME                SEE IRS SCH. K-1 INSTRUCTIONS                   234,636.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, LINE 20 AE                                                    234,636.
                                                                               ~~~~~~~~~~~~~~

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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                     AMOUNT         TOTALS
}}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                            226,087.
INCOME (LOSS) FROM OTHER RENTAL ACTIVITIES                          1,010.
                                                            }}}}}}}}}}}}}}
     SCHEDULE K-1 INCOME SUBTOTAL                                                227,097.
                                                                           }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                               227,097.
                                                                           ~~~~~~~~~~~~~~


AMORTIZATION ON BOOKS AND NOT ON RETURN                                              -12,807.
DEPRECIATION ON BOOKS AND NOT ON RETURN                                              -19,608.
NONDEDUCTIBLE EXPENSES                                                               -10,026.
PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                               50,842.
SALES                                                                                 -2,884.
                                                                               }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                                     5,517.
                                                                               ~~~~~~~~~~~~~~




                                                                       PARTNER NUMBER 17
      Case 20-31616-sgj11 Doc 1 Filed 06/08/20   Entered 06/08/20 21:07:42   Page 96 of 104
  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
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SCHEDULE K-1         ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 GAAP

 TAX BASIS CAPITAL ACCOUNT 12/31/2018                                                -101,394.
 TAX BASIS CAPITAL ACCOUNT 12/31/2019                                                 -68,073.

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SCHEDULE K-1                      FOOTNOTES
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FOR PURPOSES OF THE TAX ON NET INVESTMENT INCOME,
ALL ENTITY LEVEL INFORMATION NECESSARY FOR THE
DETERMINATION OF A TAXPAYER'S LIABILITY WITH RESPECT
TO THIS ENTITY IS CONTAINED ON SCHEDULE K-1 AND ITS
ATTACHMENTS.
PLEASE CONSULT YOUR TAX ADVISOR.

ELECTRONIC INSTRUCTIONS FOR SCHEDULE K-1 HAVE BEEN
PROVIDED ON OUR WEBSITE AT WWW.RSMUS.COM/K1.
IF YOU REQUIRE PAPER COPIES OF THESE INSTRUCTIONS,
PLEASE CONTRACT OUR OFFICE.




                                                                       PARTNER NUMBER 17
        CHRISTOPHER  KLINE
         Case 20-31616-sgj11                       Doc 1 Filed 06/08/20                           Entered 06/08/20 21:07:42                                              Page 97 of 104
                                                                                                                                                                                               651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                 2019                                           Final K-1                      Amended K-1
                                                                                                                          Part III Partner's Share of Current Year Income,
                                                                                                                                                                                        OMB No. 1545-0123

                                                                     For calendar year 2019, or tax year
Internal Revenue Service                                                                                                           Deductions, Credits, and Other Items
                           beginning                                ending                                         1 Ordinary business income (loss)                 15 Credits
Partner's Share of Income, Deductions,                                                                                                                         0.
Credits, etc.                         | See separate instructions.                                                 2          Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                           16 Foreign transactions
  A Partnership's employer identification number                                                                   3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                  4a                Guaranteed payments for services


  TRB ARLINGTON, LLC                                                                                        4b Guaranteed payments for capital
  5601 SEARS STREET SUITE B
  DALLAS, TX 75206                                                                                           4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                      17 Alternative min tax (AMT) items
  E-FILE                                                                                                           5 Interest income
  D           Check if this is a publicly traded partnership (PTP)
   Part II        Information About the Partner                                                             6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                         18 Tax-exempt income and
  XXX-XX-XXXX                                                                                               6b Qualified dividends                                       nondeductible expenses
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                             6c Dividend equivalents
  CHRISTOPHER KLINE
  1805 GRAND CANYON WAY                                                                                            7 Royalties                                       19 Distributions
  ALLEN, TX 75002                                                                                                                                                    A                      3,750.
  G           General partner or LLC                          X      Limited partner or other LLC                  8 Net short-term capital gain (loss)
              member-manager                                         member                                                                                          20 Other information
  H1    X     Domestic partner                                      Foreign partner                         9a Net long-term capital gain (loss)
  H2    X     If the partner is a disregarded entity (DE), enter the partner's:
       TIN   XX-XXXXXXX                Name    WEALTHISTIME, LLC                                            9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                              9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                   10 Net section 1231 gain (loss)
       Profit              0.0000000%                                  0.0000000%
       Loss                0.0000000%                                  0.0000000%                           11 Other income (loss)
       Capital             4.7635747%                                  4.7635747%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                           Beginning                               Ending                   12 Section 179 deduction
       Nonrecourse ••• $                                   0. $                                      0.
       Qualified nonrecourse                                                                                13 Other deductions
       financing •••• $                                      $
       Recourse •••• $                                   0. $                              0.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                        Partner's Capital Account Analysis                                               14 Self-employment earnings (loss)
              SEE STATEMENT                                                                                A                                                   0.
       Beginning capital account ~~~~~~~~~~                    $                          5,949.
       Capital contributed during the year ~~~~~~~             $                                            21       More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~                $                              0.            22       More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~       $                          1,038.              *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~                  $(                         3,750.)
                                                                                          3,237.
                                                                                                           For IRS Use Only




       Ending capital account ~~~~~~~~~~~                      $
  M Did the partner contribute property with a built-in gain or loss?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~~ $
     Ending ••••••••••••••••••• $
911261 12-30-19 LHA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                        www.irs.gov/Form1065                       Schedule K-1 (Form 1065) 2019
                                                                                                                                                                                                   18
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  TRB ARLINGTON, LLC                                                XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}                                                }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                     AMOUNT         TOTALS
}}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PRIOR PERIOD ADJUSTMENT - NO TAX IMPACT                                            1,038.
                                                                           }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                                 1,038.
                                                                           ~~~~~~~~~~~~~~


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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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                                                                       PARTNER NUMBER 18
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 Fill in this information to identify the case:
 Debtor name TRB Arlington, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 24 X 7 Hospitality                                              Dues and                                                                                                   $1,630.80
 Technology LLC                                                  subscriptions
 1770 S. Randall Rd.
 ste. A - PMB #228
 Geneva, IL
 60134-4603
 3004 HOP Ltd                                                    Rent                                                                                                     $32,358.90
 PO Box 7316767
 Plano, TX 75094
 Atmos Energy                                                    Utilities                                                                                                    $891.18
 PO Box 790311
 Saint Louis, MO
 63179-0311
 Best Restaurants                                                Repairs                                                                                                      $557.49
 Solutions
 335 Willow Wood St.
 Murphy, TX 75094
 Brothers Produce                                                Food - Produce                                                                                               $977.22
 PO Box 550278
 Dallas, TX 75355
 City of Arlington                                               Tax                                                                                                            $57.91
 Mail Stop 01-0241
 101 W. Abrams St.
 Arlington, TX 76010
 EcoLab                                                          Equipment leases                                                                                               $91.37
 26552 Network
 Place
 Chicago, IL 60673
 Enable IP                                                       Telephone and                                                                                                  $81.84
 270 Thompson Dr.                                                internet services
 Ste. B
 Kerrville, TX 78028
 JPMorgan Chase                                                  Guarantor to           Contingent                                                                      $716,942.50
 Bank, N.A.                                                      JPChase loan to
 500 East Border St.                                             TRB Beverage
 FL 02                                                           LLC
 Arlington, TX 76010


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    TRB Arlington, LLC                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Lease Corporation                                               Restaurant                                                                                                   $962.87
 of America                                                      Equipment Capital
 3150 Livernois Rd.                                              Lease - POS
 Ste. 300
 Troy, MI 48083
 Liquid                                                          Trash                                                                                                        $884.48
 Environmental
 Solutions
 PO Box 203371
 Dallas, TX 75230
 Protection One                                                  Security Services                                                                                            $364.16
 Alarm Monitoring
 PO Box 872987
 Kansas City, MO
 64187
 Reliant Metro                                                   Non alcoholic                                                                                                $116.00
 PO Box 670279                                                   Beverage - cost of
 Dallas, TX 75267                                                sales
 Republic Services                                               Trash Services                                                                                               $918.27
 po box 78829
 Phoenix, AZ 85062
 Restaurant                                                      Equipment leases                                                                                           $1,137.22
 Technologies Inc.
 12962 Collections
 Center Dr.
 Chicago, IL 60693
 Spectrum (Time                                                  Telephone and                                                                                                  $61.37
 Warner)                                                         internet services
 po box 60074
 City of Industry, CA
 91716
 State Comptroller of                                            Sales Tax                                                                                                $12,724.87
 Texas
 P.O. Box 13528,
 Capitol Station
 Austin, TX
 78711-3528
 Sysco North Texas                                               Dishwashing                                                                                              $31,286.09
 PO Box 560700                                                   Supplies
 The Colony, TX
 75056
 Texas Sportswear                                                Utilities                                                                                                    $145.92
 and Specialties
 5346 W Vickery
 Blvd.
 Fort Worth, TX
 76107
 TXU Energy                                                      Electricity                                                                                                $1,512.28
 po box 650638
 Dallas, TX 75265




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                           24 X 7 Hospitality Technology LLC
                           1770 S. Randall Rd.
                           ste. A - PMB #228
                           Geneva, IL 60134-4603


                           300 E. Abram. LLC
                           255 N. Center Sreet
                           Ste. 100
                           Arlington, TX 76011


                           3004 HOP Ltd
                           PO Box 7316767
                           Plano, TX 75094


                           Aramark
                           PO Box 731676
                           Dallas, TX 75373


                           Atmos Energy
                           PO Box 790311
                           Saint Louis, MO 63179-0311


                           Best Restaurants Solutions
                           335 Willow Wood St.
                           Murphy, TX 75094


                           Brothers Produce
                           PO Box 550278
                           Dallas, TX 75355


                           City of Arlington
                           Mail Stop 01-0241
                           101 W. Abrams St.
                           Arlington, TX 76010


                           City of Arlington Police Dept
                           PO Box 1065
                           Arlington, TX 76004
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                       EcoLab
                       26552 Network Place
                       Chicago, IL 60673


                       Enable IP
                       270 Thompson Dr.
                       Ste. B
                       Kerrville, TX 78028


                       Gratuity Solutions LLC
                       1333 3rd Ave., South
                       Ste. 506
                       Naples, FL 34102


                       JPMorgan Chase Bank, N.A.
                       500 East Border St.
                       FL 02
                       Arlington, TX 76010


                       Lantana Communications
                       1700 Tech Centre Parkway
                       Arlington, TX 76014


                       Lease Corporation of America
                       3150 Livernois Rd.
                       Ste. 300
                       Troy, MI 48083


                       Liquid Environmental Solutions
                       PO Box 203371
                       Dallas, TX 75230


                       Protection One Alarm Monitoring
                       PO Box 872987
                       Kansas City, MO 64187


                       Reliant Metro
                       PO Box 670279
                       Dallas, TX 75267
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                       Republic Services
                       po box 78829
                       Phoenix, AZ 85062


                       Restaurant Technologies Inc.
                       12962 Collections Center Dr.
                       Chicago, IL 60693


                       Spectrum (Time Warner)
                       po box 60074
                       City of Industry, CA 91716


                       State Comptroller of Texas
                       P.O. Box 13528, Capitol Station
                       Austin, TX 78711-3528


                       Sysco North Texas
                       PO Box 560700
                       The Colony, TX 75056


                       Texas Sportswear and Specialties
                       5346 W Vickery Blvd.
                       Fort Worth, TX 76107


                       Total Fire & Safety Inc.
                       7909 Carr Street
                       Dallas, TX 75227


                       TXU Energy
                        po box 650638
                       Dallas, TX 75265
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                                                               United States Bankruptcy Court
                                                                     Northern District of Texas
 In re      TRB Arlington, LLC                                                                           Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for TRB Arlington, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Mr. Right Holdings, LLC
 5601 Sears Street
 Ste. B
 Dallas, TX 75206




    None [Check if applicable]




 June 8, 2020                                                        /s/ John P. Henry
 Date                                                                John P. Henry 24055655
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for TRB Arlington, LLC
                                                                     Henry & Regel, LLC
                                                                     2100 Ross Ave.
                                                                     Suite 800
                                                                     Dallas, TX 75201
                                                                     972.299.8445 Fax:888.909.9312
                                                                     John@henryregel.com




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